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      1                       UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
      2                             MIAMI DIVISION
                               CASE NO. 18-cv-60788-JEM
      3

      4     SPRINT COMMUNICATIONS, INC.,
                                   INC.,

      5           Plaintiff/Counterclaim Defendant,

      6           vs.

      7                                                     Miami, Florida
                                                            April 13, 2022
      8     STEPHEN CALABRESE, as an individual,            Pages 1-121
            NEXTEL, INC.,
                    INC., d/b/a NEXTEL WORLDWIDE,           1:35 p.m. - 4:55 p.m.
      9     RETROBRANDS USA LLC,
            JEFFREY KAPLAN, as an individual, and
    10      NEXTEL WORLDWIDE MOBILE, INC.,
                                     INC.,

    11           Defendants/Counterclaimants.
            _______________________________________________________________
    12
                                  TRANSCRIPT OF JURY TRIAL
    13                                     VOLUME 4
                            BEFORE THE HONORABLE JOSE E. MARTINEZ
    14                          UNITED STATES DISTRICT JUDGE

    15      APPEARANCES:

    16      FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                   McGuireWoods, LLP
    17                             BY: BRIAN C. RIOPELLE, ESQ.
                                   BY: LUCY J. WHEATLEY, ESQ.
    18                             BY: AMANDA L. DeFORD, ESQ.
                                   800 East Canal Street
    19                             Richmond, Virginia 23219

    20      FOR THE DEFENDANTS/COUNTERCLAIMANTS:
                                   Erickson Kernell IP
    21                             BY: JAMES
                                        JAMES J. KERNELL,
                                                  ERNELL, ESQ.
                                   8900 State Line Road
    22                             Suite 500
                                   Leawood, Kansas 66206
    23
                                   Lee & Amtzis, PL
    24                             BY: WAYNE SCHWARTZ, ESQ.
                                   5550 Glades Road
    25                             Boca Raton, Florida 33431


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          1    REPORTED BY:        DAWN M. SAVINO, R.P.R., C.R.R.
                                   Official Federal Court Stenographer
          2                        400 N. Miami Avenue, 10S03
                                   Miami, Florida 33128
          3                        Telephone: 305-523-5598
               ______________________________________________________________
1:35:24   4              (Jury in at 1:35 p.m.)

1:36:57   5              (Court called to order)

1:37:04   6              THE COURT:     All right.     Please call your first witness.

1:37:06   7              MR. KERNELL:     Mr. Shaughnessy.

1:37:31   8              THE COURT:     All right, sir.     Please remain standing and

1:37:33   9    raise your right hand.

1:37:33 10               THOMAS SHAUGHNESSY, DEFENSE WITNESS, SWORN.

1:37:36 11               THE COURT:     All right.     Please be seated.   Tell us your

1:37:38 12     name again and spell it.

1:37:40 13               THE WITNESS:     Hi.   Tom Shaughnessy,

1:37:45 14     S-H-A-U-G-H-N-E-S-S-Y.

1:37:50 15               THE COURT:     All right.     You may proceed, sir.

1:37:50 16                                DIRECT EXAMINATION

1:38:03 17          BY MR. KERNELL:

1:38:11 18     Q.   Good afternoon, Mr. Shaughnessy.

1:38:13 19     A.   Good afternoon.

1:38:44 20               (Counsel conferring)

1:38:48 21               THE COURT:     We've had two hours.     Can you please get

1:38:49 22     moving?

1:38:50 23               MR. KERNELL:     I'm sorry?

1:38:52 24               THE COURT:     We've had two hours.     Can you please get

1:38:54 25     moving?


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1:38:57   1                MR. KERNELL:     Yes, Your Honor.

1:39:04   2                5016 is a Defense Exhibit that is not objected, so we

1:39:06   3    ask that it --

1:39:11   4                THE COURT:     5016?     Is that correct?   5016?

1:39:13   5                MR. KERNELL:     5016.

1:39:14   6                THE COURT:     All right.     Is there any objection?

1:39:21   7    Hearing no objection, 5016 is admitted in evidence.

1:39:21   8                (Defense Exhibit 5016 in evidence)

1:39:25   9                MR. KERNELL:     If I may approach the witness?

1:39:27 10                 THE COURT:     You may.     Give it to the court security

1:39:33 11     officer, he'll hand it over.

1:39:33 12          BY MR. KERNELL:

1:39:52 13     Q.   Mr. Shaughnessy, I've just handed you what's marked as

1:39:56 14     Exhibit 5016.    Do you see that?

1:39:57 15     A.   Yes.

1:40:00 16     Q.   Do you recognize that document?

1:40:02 17     A.   I don't believe I've read this document, no.

1:40:08 18     Q.   It's an SEC filing that Sprint is required to file with the

1:40:12 19     Securities and Exchange Commission.          Do you understand that?

1:40:13 20     A.   I understand it, yeah.

1:40:19 21     Q.   And you're here on behalf of Sprint to testify on Sprint's

1:40:21 22     behalf; is that correct?

1:40:21 23                 MS. WHEATLEY:     Objection, Your Honor.

1:40:24 24                 THE COURT:     I'll sustain the objection.      He is the

1:40:30 25     Sprint representative, but you called him as a witness, they


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1:40:32   1    didn't put him forward at this time.

1:40:32   2         BY MR. KERNELL:

1:40:37   3    Q.   This SEC filing was filed on December 31, 2005.         Do you see

1:40:39   4    that?

1:40:41   5                 MS. WHEATLEY:     Your Honor, can we have what is

1:40:44   6    published to the jury just include the exhibit?

1:40:47   7                 THE COURT:     I don't know what all that other stuff is.

1:40:49   8    What is that?

1:40:51   9                 MR. KERNELL:     This is exhibit --

1:40:53 10                  THE COURT:     On the left, what is all that stuff on the

1:40:54 11     left?

1:40:57 12                  MR. KERNELL:     Oh, I'm sorry.

1:40:59 13                  THE COURT:     Just the exhibit.

1:41:01 14                  MR. KERNELL:     That's what I'm trying to do, Your Honor.

1:41:03 15     There.     Sorry.

1:41:03 16          BY MR. KERNELL:

1:41:12 17     Q.   So this was the form 10-K that was filed on December 10th or

1:41:16 18     December 31, 2005.        Do you see that?

1:41:18 19     A.   I see it.

1:41:26 20     Q.   Okay.     Now, if I can direct your to Page 19 which is on the

1:41:29 21     monitor.

1:41:32 22     A.   I just want to make sure I'm following along here.

1:41:35 23                  THE COURT:     Page 2 of 2 it says at the bottom.

1:41:39 24                  THE WITNESS:     Okay.   I've got Page 19 up.

1:41:39 25          BY MR. KERNELL:


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1:41:43   1    Q.   And if I could have you, do you see the heading patents,

1:41:45   2    trademarks and licenses?

1:41:45   3    A.   Yes.

1:41:51   4    Q.   And if I could ask you to read the highlighted portion

1:41:52   5    there.

1:41:56   6    A.   Trademarks.    We have a program to file applications for

1:41:59   7    trademarks, service marks and patents where we believe this

1:42:05   8    protection is appropriate.       Sprint Power Vision and Sprint PCS,

1:42:09   9    Nextel and Boost Mobile are our registered trademarks.

1:42:13 10     Q.   And could I have you read the next line?          Or the next

1:42:14 11     highlighted line?

1:42:17 12     A.   We occasionally license our intellectual property to others,

1:42:22 13     including licenses to others to use as trademarks Sprint and

1:42:22 14     Nextel.

1:42:29 15     Q.   So at this time in 2005, Sprint identified the trademarks,

1:42:33 16     Sprint and Nextel, as intellectual property that they may

1:42:36 17     license.    Correct?

1:42:38 18     A.   According to the 10-K document here.

1:42:41 19     Q.   Yes.    And this is a publicly filed document, correct?

1:42:43 20     A.   I believe it is.       I'm not --

1:42:44 21                 MS. WHEATLEY:     Objection, Your Honor.

1:42:46 22                 THE WITNESS:     I don't know anything about the 10-K.

1:42:48 23                 THE COURT:     Hold on a second.   What is the objection?

1:42:49 24                 MS. WHEATLEY:     The objection is the witness has

1:42:51 25     testified that he's not familiar with this document.


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1:42:54   1                THE COURT:     Yeah, I don't think he ever read it before,

1:42:56   2    so I don't know if this is the right witness to talk to you

1:42:58   3    about it.    But, I mean, I thought you were going to ask him a

1:43:03   4    question after he read it.         I don't believe this is -- if it's a

1:43:07   5    reading test, he's passed it, he can read.         I don't know what

1:43:10   6    you're doing.

1:43:10   7         BY MR. KERNELL:

1:43:17   8    Q.   This document identifies trademarks of Sprint; is that

1:43:17   9    correct?

1:43:19 10     A.   Some of them are listed here, yes.

1:43:24 11     Q.   And it identifies in particular Sprint Power Vision, Sprint

1:43:27 12     PCS, Nextel and Boost Mobile, correct?

1:43:29 13     A.   Correct.

1:43:44 14     Q.   Now if I can have -- so that was in 2005, those trademarks

1:43:51 15     were identified.     Do you have Exhibit 57 (inaudible).

1:44:28 16                 So Mr. Shaughnessy, I've just handed you what's marked

1:44:31 17     as Defense Exhibit 5017.

1:44:32 18                 MR. KERNELL:     Your Honor, which is not objected to Your

1:44:34 19     Honor, and I ask that this be entered.

1:44:36 20                 THE COURT:     Okay.   Is there any objection to this

1:44:37 21     document?

1:44:37 22                 MS. WHEATLEY:     No, Your Honor.

1:44:44 23                 THE COURT:     All right.   5017 is admitted in evidence.

1:44:44 24                 (Defense Exhibit 5017 in evidence)

1:44:44 25          BY MR. KERNELL:


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1:44:48   1    Q.   Do you see at the top of the page, this is the form 10-K

1:44:53   2    filing with the SEC on December 31, 2007?

1:44:54   3    A.   Correct.

1:45:08   4    Q.   And if I can have you scroll down to the first page, and

1:45:16   5    then would you read the highlighted portion for the jury please?

1:45:21   6    A.   We, together with three third-party affiliates or PCS

1:45:27   7    affiliates, offer digital wireless service in all 50 states,

1:45:32   8    Puerto Rico and the US Virgin Islands under the Sprint brand

1:45:37   9    name utilizing wireless code division multiple access or CDMA.

1:45:44 10     We offer digital wireless services under our Nextel brand using

1:45:49 11     integrated digital enhanced network or iDEN technology.

1:45:53 12     Q.   So on this page, again it identifies two of Sprint's brands

1:45:56 13     or Sprint Nextel brands.

1:45:59 14                 MS. WHEATLEY:   Your Honor, objection.     Are we just

1:46:02 15     going to read from the 10-Ks?      The witness has not established

1:46:03 16     any knowledge and this is a direct examination.

1:46:05 17                 THE COURT:   I don't understand what we're doing here.

1:46:08 18     As I said, if it is for the purpose of proving that he can read

1:46:11 19     it, he has read it.      But unless you're going to ask him

1:46:14 20     questions about the contents of this, which apparently you have

1:46:19 21     not, I'm going to -- you can read it to them in closing, it's in

1:46:22 22     evidence.    You can read it to them whenever you want.        He

1:46:28 23     doesn't have to read it.      I mean, it just doesn't seem --

1:46:32 24     doesn't make sense for him to be reading it.         Ask him questions

1:46:36 25     about it, about his involvement, what his knowledge is this of


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1:46:42   1    document, if any, that's fine.        But you can't just put one of

1:46:44   2    their witnesses on the stand and ask them to read from your

1:46:51   3    exhibit.   I'm not familiar with any procedure like that.         So

1:46:52   4    move on.

1:46:52   5         BY MR. KERNELL:

1:46:57   6    Q.   In 2007, did Sprint offer digital wireless services under

1:47:00   7    the Nextel brand?

1:47:01   8    A.   We did.

1:47:06   9    Q.   And in 2007, did Sprint offer digital wireless services

1:47:08 10     under the Sprint brand?

1:47:09 11     A.   We did.

1:47:13 12     Q.   And in this document it publicly identified those two

1:47:16 13     brands, correct?

1:47:19 14     A.   In this document.

1:47:29 15     Q.   On Page 4 if you could look at the highlighted portions

1:47:39 16     here, says we market our post-paid services under the Sprint and

1:47:41 17     Nextel brands.     Do you see that?

1:47:42 18     A.   I see that.

1:47:46 19     Q.   And in 2007 Sprint marketed their services under the Sprint

1:47:47 20     and Nextel brands, correct?

1:47:49 21     A.   Correct.

1:47:56 22     Q.   And in fact, there was a NASCAR Cup Series that Sprint

1:47:58 23     sponsored at that time.

1:48:00 24     A.   Correct.     I mentioned that yesterday.

1:48:00 25     Q.   I'm sorry?


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1:48:04   1    A.   I mentioned that earlier this morning or yesterday.

1:48:15   2    Q.   Now before this, before it was the Sprint Cup Series, it was

1:48:18   3    the NASCAR Nextel Cup Series, correct?

1:48:19   4    A.   Correct.

1:48:25   5    Q.   So why did Sprint drop Nextel from the NASCAR series?

1:48:27   6    A.   That's a good question, and I think it kind of goes back to

1:48:31   7    what I talked about the evolution of the brand.         So what you're

1:48:33   8    seeing from a time-line perspective is as we integrated the

1:48:37   9    companies, we're moving from a top line -- two top line brands,

1:48:40 10     Sprint and Nextel, like I said, very confusing in market if

1:48:44 11     you're trying to compete in market with two major brands.           The

1:48:48 12     Sprint brand had a broader appeal from a consumer-market

1:48:52 13     perspective, which is where a lot of our subscriber growth was,

1:48:55 14     and we're started to integrate the Nextel brand into our

1:48:55 15     business-focus category.      So it's going to take a sub-brand,

1:48:58 16     like we looked at in the packaging, and it ultimately it will

1:49:02 17     become part of our business product portfolio.         So this is

1:49:05 18     exactly what's happening right here.

1:49:15 19     Q.   Now on Page 5 of this exhibit it states that we have

1:49:20 20     experienced declines in the number of new iDEN post-paid

1:49:24 21     subscribers in recent quarters, and we lost about 2.8 million

1:49:30 22     net post-paid subscribers of the iDEN based services during

1:49:31 23     2007.

1:49:34 24               Do you recall that event or those events at Sprint when

1:49:36 25     you were working there?


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1:49:39   1     A.   I don't recall the exact numbers, I'll trust that the 10-K

1:49:43   2     that we provided has those numbers as accurate.

1:49:55   3     Q.   So the next sentence states that consumer sentiment

1:49:56   4     regarding the iDEN network, reduced marketing programs and

1:50:01   5     limited new handset offerings at the higher-than-market prices,

1:50:07   6     have all contributed to the decline in new iDEN consumers.

1:50:07   7                  Do you see that?

1:50:08   8     A.   I do.

1:50:14   9     Q.   Is that -- the iDEN consumer market, is that an area that

1:50:17 10      you were working in at the time at Sprint?

1:50:21 11      A.   I was working in the iDEN business markets.        Again, I think

1:50:25 12      we've kind of covered that the iDEN brand, from a consumer

1:50:30 13      perspective, was transitioning over to the CDMA network, high

1:50:30 14      broadband data applications like Facebook and things like that.

1:50:35 15      So, yeah, absolutely makes complete, 100% that we have that in

1:50:36 16      here.

1:50:38 17      Q.   Then the next sentence states that capacity constraints in

1:50:44 18      certain markets on the iDEN network have improved in recent

1:50:47 19      quarters due to fewer subscribers.       Do you see that?

1:50:47 20      A.   Correct.

1:50:52 21      Q.   So because customers are moving off the iDEN network for

1:50:58 22      either to the CDMA or to other carriers, then the bandwidth on

1:51:01 23      the iDEN network has improved?

1:51:03 24      A.   It has.     That's what that states.

1:51:22 25      Q.   Okay.     So if I can direct you to Page 19 under the heading


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1:51:25   1     of patents, trademarks and licenses.           Again it identifies

1:51:32   2     Sprint, Nextel and Boost Mobile as the trademarks.

1:51:37   3     A.   It says among our trademarks.          Yes.   We have quite a few.

1:51:40   4     Q.   And then one of the sentences in here, it says generally our

1:51:46   5     trademarks and service marks endure and are enforceable so long

1:51:48   6     as they continued to be used.           Do you see that?

1:51:50   7     A.   I see that.

1:51:51   8     Q.   Do you know what that means?

1:51:55   9     A.   I think it means generally the trademarks and service marks

1:51:59 10      endure and are enforceable as long as they continue to be used.

1:52:00 11      I think that's what that means.

1:52:04 12      Q.   So if you stop using a trademark or service mark --

1:52:07 13                  MS. WHEATLEY:     Objection, foundation.

1:52:08 14                  MR. KERNELL:     -- then those trademarks are not

1:52:09 15      enforceable.

1:52:13 16                  THE COURT:     All right.     You're asking him --

1:52:14 17                  THE WITNESS:     I'm sorry.     Could you repeat the

1:52:16 18      question?    You broke it up.

1:52:16 19           BY MR. KERNELL:

1:52:25 20      Q.   So if Sprint stops using a trademark, then it's no longer

1:52:27 21      enforceable?

1:52:29 22                  MS. WHEATLEY:     Objection, Your Honor.       Foundation.

1:52:29 23                  THE COURT:     Sustained.

1:52:29 24           BY MR. KERNELL:

1:52:38 25      Q.   What do you understand that sentence to mean.


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1:52:39   1                 MS. WHEATLEY:     Same objection, Your Honor.

1:52:41   2                 THE COURT:     I'll sustain the objection.    He's not here

1:52:46   3     to interpret legal filings by the company.

1:53:32   4                 MR. KERNELL:     I'm going to call or offer 5018.

1:53:37   5                 THE COURT:     5018?    Any objection 2008 Sprint 10-K?

1:53:45   6                 MS. WHEATLEY:     No, Your Honor.

1:53:46   7                 THE COURT:     Without objection, it's admitted in

1:53:48   8     evidence.

1:53:48   9                 (Defense Exhibit 5018 in evidence)

1:53:48 10           BY MR. KERNELL:

1:53:55 11      Q.   Mr. Shaughnessy, you've just been handed what's marked as

1:54:00 12      Defense Exhibit 5018 which is the 10-K SEC filing of December

1:54:06 13      31, 2018 for Sprint Nextel.         Do you see that?

1:54:08 14      A.   I see that.

1:54:11 15                  MS. WHEATLEY:     Can we clarify it's 2008?

1:54:16 16                  MR. KERNELL:     I'm sorry, 2008.    December 31, 2008.

1:54:17 17                  THE WITNESS:     Yep.

1:54:17 18           BY MR. KERNELL:

1:54:30 19      Q.   Now in the trademark section, and in the -- you were in the

1:54:33 20      marketing group or department at Sprint at this time?

1:54:37 21      A.   In 2013 I was in the sales department.

1:54:37 22      Q.   In 2008 --

1:54:40 23      A.   Oh, in 2008, I was in the marketing department.

1:54:44 24      Q.   And are you -- you're aware of all the Sprint brands and

1:54:46 25      trademarks and such?


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1:54:50   1     A.   Well, I was aware of the brands that were in the area that I

1:54:53   2     kind of focused on, the business brands.        Not all the brands

1:54:57   3     that are Sprint brands I was involved in or have knowledge of.

1:54:59   4     Q.   You were aware of the Sprint brand?

1:55:02   5     A.   Certainly aware of the Sprint brand.

1:55:03   6     Q.   And the Nextel brand?

1:55:04   7     A.   Yes.

1:55:06   8     Q.   And the Direct Connect brand?

1:55:07   9     A.   Direct Connect brand.

1:55:10 10      Q.   And the Boost Mobile brand?

1:55:13 11      A.   Yes.

1:55:21 12      Q.   And then if I could have you look at the paragraph that's

1:55:29 13      highlighted on this, it's on page F-22.

1:55:34 14      A.   I don't know if I'll be able to flip to page F-22 on this

1:55:37 15      big document you got.     I got it.   Okay.    I don't want to slow

1:55:40 16      things down, I just want to make sure I got the right page in

1:55:41 17      front of me.

1:55:43 18      Q.   I think it's Page 99 of 131.

1:55:45 19      A.   Yep.    Got it right here.   Thank you.

1:55:50 20      Q.   Now, it states that in the fourth quarter 2007, we conducted

1:55:56 21      our annual impairment assessment of our then $30. billion of

1:56:01 22      goodwill.    Approximately 26.3 billion of our goodwill was

1:56:05 23      recorded in connection with the recent business combinations of

1:56:11 24      Nextel Communications, Inc., Nextel Partners, Inc., and other

1:56:15 25      acquisitions such as certain PCS affiliates.


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1:56:16   1                Do you see that?

1:56:17   2     A.    I see that.

1:56:22   3     Q.    Do you know what goodwill is?

1:56:24   4     A.    From a finance --

1:56:25   5                MS. WHEATLEY:     Objection, foundation.

1:56:26   6                THE COURT:     Sustained.

1:56:26   7           BY MR. KERNELL:

1:56:37   8     Q.    When you were at, well, at Sprint, do you recall an event

1:56:42   9     where Sprint wrote-down the goodwill of Nextel?

1:56:47 10      A.    I do remember a goodwill write-down.

1:56:49 11      Q.    And what is your understanding of what a goodwill write-down

1:56:51 12      is?

1:56:55 13      A.    I'm going to be honest, I don't know what a goodwill

1:56:59 14      write-down is.      I know what it says here in the document, but I

1:57:02 15      do not know what a goodwill write-down is.

1:57:09 16      Q.    So if a company writes off $30 billion of goodwill, is that

1:57:11 17      a tax advantage for the company?

1:57:14 18                 MS. WHEATLEY:     Objection, Your Honor.     The witness says

1:57:15 19      he does not know.

1:57:17 20                 THE COURT:     I'll sustain the objection.     He's not here

1:57:19 21      as an expert to testify to that.

1:57:21 22                 MR. KERNELL:     I'm asking for his understanding of --

1:57:23 23                 THE COURT:     What's the relevance of his understanding?

1:57:24 24                 MR. KERNELL:     He's here --

1:57:27 25                 THE COURT:     Or mine for that matter.    I mean, what does


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1:57:31   1     it matter what he understands that to be?

1:57:42   2          BY MR. KERNELL:

1:58:06   3     Q.   All right.   So on page F-23, the next page, it states that

1:58:10   4     based on the results of our 2008 assessment, the net book value

1:58:15   5     of the wireless reporting unit exceeded its fair value.          We

1:58:19   6     performed the hypothetical purchase price, allocation and fair

1:58:24   7     value of our goodwill was zero.      The decrease in the fair value

1:58:30   8     of the goodwill was due to lower forecasted cash flows for our

1:58:35   9     wireless reporting, as well as a substantial excess in the over

1:58:39 10      book value of FCC licenses and trade names.        We consequently

1:58:44 11      reduced goodwill to zero as of December 31, 2008.

1:58:52 12                 At this time in 2008, was Sprint experiencing a decline

1:58:56 13      in subscribers and customers?

1:58:58 14      A.   I believe we were.

1:59:03 15      Q.   And it was a substantial decline, the churn at Sprint was

1:59:06 16      very high at that time, wasn't it?

1:59:08 17      A.   It was higher than other carriers, yes.

1:59:12 18      Q.   And can you explain to the jury what churn is in the --

1:59:16 19      A.   Churn is when a customer leaves, stops billing and goes to

1:59:20 20      either potentially another carrier.       So switching from carrier A

1:59:26 21      to carrier B or doesn't switch at all and just turns off the

1:59:27 22      device.

1:59:34 23      Q.   And in fact, the churn rate for Nextel, the Nextel platform,

1:59:37 24      was substantially higher than the Sprint platform; isn't that

1:59:38 25      correct?


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1:59:43   1     A.   It does, it makes complete sense, because they're moving

1:59:47   2     customers off the iDEN platform over to the Sprint platform, so

1:59:50   3     mathematically it's going to be higher because we're reducing

1:59:54   4     the number of subscribers on the iDEN network, as we migrate

1:59:57   5     them to the CDMA network.     So every month that number is going

2:00:00   6     to go up because your base on that network is shrinking.          So

2:00:02   7     absolutely going to be higher.

2:00:06   8     Q.   So this is in 2008, this is before Sprint announced the

2:00:09   9     shutdown of the iDEN network; isn't that correct?

2:00:12 10      A.   This would be when we were migrating customers over.

2:00:16 11      Leading up to the shutdown of the network, which is always the

2:00:17 12      intention, when you're bringing two companies together and

2:00:18 13      you're managing two separate networks, which are really

2:00:21 14      expensive, so in 2005 when the merger closed, the intent was to

2:00:26 15      take those subscribers from the iDEN network to the Sprint

2:00:30 16      network so it could reduce and eliminate one network, providing

2:00:34 17      a better network for all those Nextel subscribers that we

2:00:37 18      acquired.    So yeah, absolutely makes sense.

2:00:40 19      Q.   And at that time though, Sprint had a much higher churn rate

2:00:42 20      than the rest of the industry.

2:00:45 21      A.   Well, you'll have to define much higher.       I don't know.

2:00:47 22      Q.   It was higher than the rest of the industry.

2:00:50 23      A.   It was higher, yeah, I said that.      But I was trying -- you

2:00:53 24      said much higher.    That's relevant.

2:01:01 25      Q.   So if -- so Sprint was not capturing 100% or even close to


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2:01:06   1     100% of the iDEN or the Nextel customers coming off of the iDEN

2:01:13   2     network onto the CDMA network, they were losing customers.

2:01:16   3     A.   I don't know which network they're coming from, but I'm

2:01:19   4     going to go with you there, and I'll assume that some of course

2:01:23   5     didn't make that journey from iDEN to CDMA.          They could have

2:01:25   6     gone to another carrier, absolutely.          And there's probably some

2:01:28   7     Sprint customers that moved over in that time frame as well.             So

2:01:31   8     I'm not sure that mix or balance that you're asking about from

2:01:37   9     an iDEN perspective, but I know that common sense would say both

2:01:42 10      networks probably had some churn going on.

2:02:07 11                  THE COURT:     May I remind the parties that if something

2:02:10 12      is not in evidence yet, you need to tell me so that I shut the

2:02:13 13      monitors for the jury off.       It can't be shown to them until it's

2:02:16 14      in evidence.    If you want to offer it in evidence, then once

2:02:19 15      it's in evidence, you can show it to anybody in the world.             And

2:02:22 16      then also when you're finished with it, take it off the screen,

2:02:25 17      don't leave it staying on the screen when you sit down after

2:02:28 18      you're finished with your questioning.

2:03:05 19                  MR. KERNELL:     Your Honor, I have Exhibit 5021 which has

2:03:08 20      not been objected to.       I ask to move it into evidence.

2:03:09 21                  MS. WHEATLEY:     No objection.

2:03:10 22                  THE COURT:     Any objection?

2:03:10 23                  MS. WHEATLEY:     No, Your Honor.

2:03:13 24                  THE COURT:     Without objection, 5021 is admitted in

2:03:14 25      evidence.


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2:03:16   1                  (Defense Exhibit 5021 in evidence)

2:03:16   2          BY MR. KERNELL:

2:03:43   3     Q.   Mr. Shaughnessy, I handed you Defendants' Exhibit 5021 which

2:03:48   4     is the December 31, 2012 form 10 SEC filing.         Do you see that?

2:03:53   5     A.   I see that for Sprint Nextel Corporation, yes.

2:04:09   6     Q.   Was there anything significant in Sprint, at Sprint in 2012?

2:04:11   7                  MS. WHEATLEY:     Objection to form.

2:04:14   8                  THE COURT:     Sustained.   I don't understand it.   At all.

2:04:14   9          BY MR. KERNELL:

2:04:22 10      Q.   You recall any significant events in 2012 with Sprint?

2:04:24 11                   MS. WHEATLEY:     Same objection.

2:04:27 12                   THE COURT:     If he can answer it, he should answer.    But

2:04:30 13      I don't know what he's talking about.

2:04:33 14                   THE WITNESS:     There's lots of events every day.

2:04:33 15           BY MR. KERNELL:

2:04:38 16      Q.   Okay.     Well, on Page 1 it says recent developments.       Do you

2:04:39 17      see that?

2:04:43 18      A.   Is it highlighted?

2:04:47 19      Q.   Midway down through the page it's highlighted.         On October

2:04:52 20      15, 2012 we entered into an agreement and plan of merger, merger

2:04:54 21      agreement with Soft Bank Corp?

2:04:56 22      A.   Yeah, I'm aware of that.

2:04:59 23      Q.   Was that a major event in Sprint history?

2:05:03 24      A.   That was a big event, yeah.

2:05:12 25      Q.   And before that on the same Page 1 of this exhibit, it


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2:05:22   1     identifies trademarks are retail brands of Sprint, Boost Mobile,

2:05:30   2     Virgin Mobile, Assurance Wireless on the 3G network.         Do you see

2:05:30   3     that?

2:05:32   4     A.   I see that.

2:05:45   5     Q.   Then it also talks about in the next I believe -- now the

2:05:50   6     Virgin Mobile and Assurance Wireless, were those new

2:05:52   7     acquisitions for Sprint?

2:05:54   8     A.   I don't know if they're acquisitions or developments.         So I

2:06:00   9     believe Virgin was an acquisition as an MVNO, I think we

2:06:03 10      acquired them.     I don't know the exact time that took place, but

2:06:08 11      I know that we eventually owned that MVNO.        Assurance, I believe

2:06:12 12      that's an MVNO, but I don't know.       I guess we acquired them if

2:06:17 13      it's in our 10-K.

2:06:26 14      Q.   So if I can direct you to Page 4, I have it highlighted that

2:06:31 15      it states our Nextel platform, which is expected to be shutdown

2:06:39 16      by June 30, 2013, is an all digital pact data network based on

2:06:46 17      iDEN wireless technology provided by Motorola Solutions.          So do

2:06:52 18      you know if this was the first time within Sprint that they

2:06:57 19      announced that there would be the shutdown of the Nextel

2:06:59 20      platform on June 30, 2013?

2:07:03 21      A.   I don't know that.

2:07:07 22      Q.   I'm sorry?

2:07:10 23      A.   I don't know if that's the first time or not.        Your question

2:07:12 24      is do I know that.     I don't know that it was.     I do not know

2:07:14 25      that it was the first time.


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2:07:14   1     Q.   Okay.

2:07:17   2     A.   It may be the first time in a document like this, but it may

2:07:19   3     not be the first time we announced it.

2:07:26   4     Q.   Do you know when the discussions within Sprint Nextel began?

2:07:28   5     A.   I would imagine --

2:07:31   6     Q.   About shutting down the iDEN network?

2:07:32   7     A.   I would imagine they began --

2:07:35   8                  THE COURT:     Don't imagine, tell us what you know.

2:07:37   9                  THE WITNESS:     I don't know.

2:07:37 10           BY MR. KERNELL:

2:07:39 11      Q.   Were you involved in any of those discussions?

2:07:42 12      A.   No.

2:07:51 13      Q.   And then below this it says we market our post-paid services

2:07:53 14      under the Sprint brand.        Do you see that?

2:07:54 15      A.   I see that.

2:08:02 16      Q.   And post-paid services, those were Nextel services also at

2:08:02 17      that time, correct?

2:08:03 18      A.   Correct.

2:08:09 19      Q.   But this document doesn't mention Nextel as being marketed

2:08:11 20      for post-paid services, does it?

2:08:16 21      A.   I don't know that this document would include that.         I don't

2:08:18 22      think this document has anything to do with how we market -- our

2:08:21 23      marketing of services.        This is a financial statement.

2:08:24 24      Q.   Right.     But it does have statements as to what you're

2:08:25 25      marketing, certainly.


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2:08:26   1               MS. WHEATLEY:    Objection.

2:08:29   2               THE COURT:    I'll sustain the objection.

2:08:29   3          BY MR. KERNELL:

2:08:40   4     Q.   In about the middle of that paragraph it states as we shut

2:08:43   5     down the Nextel platform, our efforts will continue to pursue

2:08:48   6     the recapture of Nextel platform subscribers.        However,

2:08:54   7     particularly, we will continue our efforts to focus on

2:08:58   8     profitable growth through service provided on an enhanced

2:09:03   9     wireless network on the Sprint platform.        Do you see that?

2:09:04 10      A.   I see that.

2:09:09 11      Q.   And so that is just a statement or -- your experience that

2:09:14 12      you were trying to, or Sprint was trying to retain as many of

2:09:17 13      the Nextel customers as possible.        Is that fair?

2:09:19 14                MS. WHEATLEY:    Objection, foundation.

2:09:20 15                THE COURT:    Ladies and gentlemen, let's talk about

2:09:23 16      this.   Why don't you go into the jury room so we can talk about

2:09:25 17      this.

2:09:26 18                COURT SECURITY OFFICER:       All rise for the jury.

2:09:33 19                (Jury out at 2:09 p.m.)

2:09:51 20                THE COURT:    Please be seated.

2:10:04 21                Okay.    I've presided over a lot of trials and I

2:10:07 22      participated in a lot of trials.        I don't have any -- I usually

2:10:11 23      know what's going on.     I don't have any idea what you're up to.

2:10:15 24      What is it you're trying to do with this?        It is very unusual to

2:10:20 25      introduce a document and then read it and then expect the


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2:10:24   1     witness to comment on it when he didn't have anything to do with

2:10:28   2     writing the document, he said that he had never seen it before.

2:10:32   3     What is it you're doing?     I mean, if you're trying to publish

2:10:35   4     the document, you don't need this witness to do it.         Just

2:10:38   5     publish it whenever you get around to it.        You can hand it to

2:10:42   6     them, you can make nine copies of it and give it to them, I

2:10:46   7     don't care.   But the bottom line is normally, if you're trying

2:10:51   8     to impeach this witness, you would ask him a question first and

2:10:56   9     then say but doesn't your 10-K of 2008 say differently, in which

2:10:59 10      case he would say I don't have any idea what that says, I didn't

2:11:01 11      have anything to do with it.      But I don't know what you're

2:11:06 12      doing, and it's taking me a long time to -- you know, I think

2:11:10 13      I've been reasonably patient waiting for something to happen,

2:11:14 14      nothing has happened except that you ask him does it say that.

2:11:20 15      And then he says usually yeah, it says that, and then you move

2:11:22 16      on to something else.

2:11:26 17                What is it that you're trying to do and under what

2:11:29 18      theory are you doing it?     What is it you're up to?      I mean, I'm

2:11:33 19      not saying you're up to anything wrong, don't misunderstand me.

2:11:37 20      I just don't understand, and I just am afraid that we're killing

2:11:40 21      a lot of time for no reason whatsoever.       Tell me what you're

2:11:41 22      doing.

2:11:45 23                MR. KERNELL:     Yes, Your Honor.   This shows Sprint --

2:11:46 24                THE COURT:     What shows?

2:11:48 25                MR. KERNELL:     These documents.


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2:11:48   1                 THE COURT:     Uh-huh.

2:11:51   2                 MR. KERNELL:     Year after year, they show the

2:11:58   3     progression of Sprint and the promotion of the Nextel trademark.

2:12:00   4                 THE COURT:     What does it have to do with this

2:12:00   5     gentleman?

2:12:04   6                 MR. KERNELL:     He is the Sprint employee, he knows --

2:12:07   7                 THE COURT:     There were probably thousands of Sprint

2:12:08   8     employees, but he says --

2:12:10   9                 MR. KERNELL:     He's the only one we have here.

2:12:12 10                  THE COURT:     Yeah, I know.     But you have subpoena power

2:12:16 11      but he says that he never saw this document before.

2:12:18 12                  MR. KERNELL:     Your Honor, we don't have subpoena power

2:12:22 13      over folks in Kansas City.           We tried to get Melissa Jobe here.

2:12:24 14                  THE COURT:     Well, that may be, but I suspect that they

2:12:27 15      got people around here or you could have gone up and deposed

2:12:31 16      them sometime ago at some point in time to develop your case.

2:12:35 17      But this guy is not the guy, and you keep asking him questions

2:12:40 18      and he keeps, you know, doing the four-corner press or

2:12:43 19      something.    I don't know what he's -- he's dancing around trying

2:12:45 20      to answer your questions, and he can't because he doesn't know

2:12:49 21      anything about this document.           And so you're publishing this

2:12:52 22      document through somebody that knows nothing about it.           That's

2:12:54 23      wrong.   If you want to publish the document, publish the

2:13:01 24      document.    If you want to, after you've published the document,

2:13:04 25      you know, during your final argument say this document proves


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2:13:08   1     this, this, this, this and this, that's fine.        That's your

2:13:10   2     prerogative.     You can do that.   But I don't know what you're

2:13:13   3     trying to do with this gentleman.       And if you're trying to do

2:13:17   4     something that's certainly far beyond my ability to understand

2:13:22   5     it, and I suspect that I probably have a better handle on this

2:13:24   6     than the jurors do.      So I don't know what you're doing, but it

2:13:25   7     ain't working.

2:13:30   8               So I'd ask you to move on to something else because I

2:13:32   9     don't think this is the right person to be asking questions

2:13:36 10      about a document that he has never seen before.

2:13:38 11                MR. KERNELL:     Your Honor, I'm asking him about the

2:13:44 12      circumstances that are documented here.       In his experience in

2:13:47 13      working with the Nextel trademark that he has testified now for

2:13:53 14      a day that Sprint has continued to use the Nextel network, that

2:13:58 15      they're continuing to promote it and that this document says

2:14:01 16      different than what he has testified earlier.

2:14:06 17                THE COURT:     Okay.   And he told you on several occasions

2:14:08 18      yeah, but this is a financial document, I was in marketing.

2:14:12 19      He's not a financial guy apparently.       I don't know.    I don't

2:14:15 20      know the gentleman.      I've never seen him before.     The bottom

2:14:21 21      line is I don't know what you're trying to accomplish with this,

2:14:24 22      but I'm suggesting to you that you're not accomplishing it.           So

2:14:28 23      I'll let you go a little bit longer, but then I'm going to shut

2:14:32 24      you down because you can't keep asking him about stuff he knows

2:14:34 25      nothing about.


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2:14:36   1               As I said, you can publish the document and you can

2:14:39   2     make argument, whatever argument you want to make and say here,

2:14:44   3     look at this, I'll blow it up for you, read what it says and

2:14:47   4     they sent this to the whatever it was, Securities and Exchange

2:14:53   5     Commission on such and such a date and they were saying this.

2:14:55   6     But you're asking him -- this guy is doing a lot of supposition,

2:15:03   7     and I think I've heard him say on many occasions "I suppose so"

2:15:13   8     or "I don't know" or "I guess so".       But the bottom line is maybe

2:15:17   9     I'm overreacting because I try to be as protective as I can of

2:15:22 10      my jurors, but if one of them falls out of his chair and hurts

2:15:25 11      himself, I'm going to hold you personally responsible.

2:15:26 12                Yes, ma'am.     You have a comment.

2:15:28 13                MS. WHEATLEY:     Yes, Your Honor.    I don't think Mr.

2:15:33 14      Kernell has laid any foundation for connecting these documents

2:15:38 15      to any knowledge of Mr. Shaughnessy or any issue in this case.

2:15:41 16      That these documents are relevant to how Sprint uses the Nextel

2:15:49 17      brand at all.    Or relevant to Sprint's trademark registrations.

2:15:52 18                THE COURT:    I don't think he has either, but it's not

2:15:56 19      for me to decide, it's for them to decide.        But I don't see it

2:16:00 20      at all, and at some point I guess as a gatekeeper I'm supposed

2:16:03 21      to stop irrelevant material from coming in and confusing the

2:16:05 22      jury.

2:16:09 23                MS. WHEATLEY:     Your Honor we have -- we are willing to

2:16:11 24      let -- we've not objected to these documents, and if they want

2:16:14 25      to submit them as evidence, we don't have an objection to that.


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2:16:17   1     But we do have an objection to Mr. Shaughnessy being made to

2:16:21   2     testify about them when he's not responsible for them.

2:16:23   3               THE COURT:     Well, I'll agree with you and if you

2:16:25   4     object, unless it's something different I'll sustain the

2:16:26   5     objections.

2:16:31   6               Bring the jury back in please.

2:16:32   7               COURT SECURITY OFFICER:           All rise for the jury.

2:16:36   8               (Jury in at 2:16 p.m.)

2:17:15   9               THE COURT:     Please be seated.

2:17:20 10                All right, sir.        You may proceed.

2:17:42 11                MR. KERNELL:     May I proceed?

2:17:46 12                THE COURT:     I told you you may proceed, yes.

2:17:50 13                MR. KERNELL:     I'm going to introduce Exhibits Number

2:18:07 14      5020, 5022, 5024, and 5231, none of which are objected to.

2:18:14 15                THE COURT:     All right.        5020, 5022, what were the

2:18:18 16      others, 5024?

2:18:20 17                MR. KERNELL:     And 5231.

2:18:24 18                THE COURT:     Okay.     5231.     I have to get to that one.

2:18:33 19      5231?

2:18:34 20                MR. KERNELL:     Yes.

2:18:36 21                THE COURT:     Without objection, all of those are

2:18:37 22      admitted in evidence.

2:18:37 23                (Defense Exhibits 5020, 5022, 5024 & 5231 in evidence)

2:18:37 24           BY MR. KERNELL:

2:19:20 25      Q.   Mr. Shaughnessy, if I could, Defendants' Exhibit 5,020 is


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2:19:29   1     the December 31, 2013 10-K that was filed by Sprint.         Did

2:19:58   2     Sprint, this was in -- did Sprint shut down the iDEN network on

2:19:59   3     June 30, 2013?

2:20:02   4     A.   Yes, I believe we did.

2:20:09   5               MS. WHEATLEY:     Mr. Shaughnessy, could you take off your

2:20:09   6     mask?

2:20:11   7               THE WITNESS:     Oh, I'm sorry.   Forgot it was on.

2:20:15   8               Yes, I believe we did.     Excuse me.

2:20:15   9          BY MR. KERNELL:

2:20:23 10      Q.   Now, did Sprint continue to offer services,

2:20:31 11      telecommunication services under the Nextel trademark in 2013?

2:20:33 12      A.   Yes, I believe we did.

2:20:34 13      Q.   On what platform?

2:20:36 14      A.   On CDMA platform.

2:20:42 15      Q.   And that's also the Sprint platform, correct?

2:20:46 16      A.   It can be referred to as Sprint platform, sure.

2:20:50 17      Q.   Was it referred to publicly as the Sprint platform?

2:20:53 18      A.   Probably.

2:21:07 19      Q.   Now, do you recall a lawsuit that was filed against Sprint

2:21:12 20      regarding the write-down of the --

2:21:15 21                MS. WHEATLEY:     Objection, relevance.

2:21:19 22                MR. KERNELL:     Write-down of the goodwill?

2:21:23 23                THE COURT:     I don't know what the relevance of that is.

2:21:26 24                MS. WHEATLEY:     Objection, Your Honor.

2:21:29 25                THE COURT:     I don't know what the relevance of that is.


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2:21:32   1     You're going to have to explain it to me.        Let's do a sidebar,

2:21:36   2     please.

2:21:39   3                 (SIDEBAR CONFERENCE:

2:21:52   4                 MR. KERNELL:     Your Honor, it just goes to -- these are

2:21:55   5     events that were happening regarding the write-down of the

2:21:56   6     goodwill.

2:21:58   7                 THE COURT:     You have to speak up a little bit so she

2:21:59   8     can hear you.

2:22:01   9                 MR. KERNELL:     The write-down of the goodwill which is

2:22:04 10      what we're saying that when they wrote-down the goodwill, they

2:22:11 11      gave up all value to that mark.        I mean, that's what a trademark

2:22:14 12      is known for is, its goodwill.

2:22:15 13                  THE COURT:     Let me hear your position.

2:22:17 14                  MS. WHEATLEY:     They have not established any connection

2:22:20 15      between any lawsuit and the trademark.

2:22:22 16                  THE COURT:     Speak up a little bit they.   Can't hear you

2:22:22 17      over the noise.

2:22:23 18                  MS. WHEATLEY:     Sorry.   They haven't established any

2:22:27 19      connection between any lawsuit they're referencing and the

2:22:32 20      trademark.    It's also improper character evidence about Sprint

2:22:35 21      that has nothing to do with the rights and the trademark.

2:22:38 22                  THE COURT:     I didn't know a corporation could have

2:22:42 23      character, but it doesn't seem particularly relevant to me.           But

2:22:47 24      I also don't see it particularly prejudicial in any way.

2:22:49 25                  MS. WHEATLEY:     Well Your Honor, we would -- I mean,


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2:22:53   1     suggesting that Sprint did something wrong by referencing a

2:22:54   2     lawsuit.

2:22:58   3                THE COURT:     I don't believe he's done that yet.

2:23:01   4                MS. WHEATLEY:     This, I mean, it's a shareholder

2:23:04   5     lawsuit.   It has nothing to do with the brand whatsoever.

2:23:07   6                THE COURT:     Yeah, I don't think lawsuits should be

2:23:12   7     involved in this at all.      What is the lawsuit about?

2:23:13   8                MR. KERNELL:     It had to do with the write-down of the

2:23:16   9     goodwill for Nextel.

2:23:19 10                 THE COURT:     And it is by shareholders suing Sprint

2:23:22 11      saying you shouldn't have written it down?

2:23:25 12                 MR. KERNELL:     No, that they misled that there was --

2:23:28 13      they misled and filed false documents with the SEC.

2:23:31 14                 THE COURT:     No, I'll sustain the objection.

2:23:31 15                 (END OF SIDEBAR)

2:23:31 16           BY MR. KERNELL:

2:24:09 17      Q.   So Mr. Shaughnessy, in 2013, there were no customers on the

2:24:13 18      Nextel platform, correct?

2:24:16 19                 MS. WHEATLEY:     Objection, foundation.

2:24:21 20                 THE COURT:     If he knows.   If you know.

2:24:25 21                 THE WITNESS:     I believe after June 30, 2013?    When we

2:24:28 22      turned the network down?      That's probably an accurate statement.

2:24:28 23           BY MR. KERNELL:

2:24:34 24      Q.   And it was actually on that date at midnight on June 30,

2:24:40 25      2013 all the towers were turned off, correct?


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2:24:43   1     A.   I'm not a technical expert on how they actually shut a

2:24:46   2     network down, but I believe that was probably in the marketed

2:24:50   3     date like hey, we need to make sure our customers are taken care

2:24:53   4     of, upgraded and moved off so there's no service disruption.          I

2:24:56   5     don't know if it was a turn off all the towers overnight or if

2:25:00   6     it was a couple of weeks, but that's the published date it looks

2:25:04   7     like that we want to make sure everybody's taken care of and off

2:25:06   8     the network.

2:25:11   9     Q.   In your position at Sprint from 2009 through 2013, did you

2:25:17 10      have occasions to keep track of the number of customers that

2:25:20 11      were on the Nextel network?

2:25:22 12      A.   I did not.

2:25:25 13      Q.   Did you keep track of any of those numbers?

2:25:30 14      A.   That wasn't my job.    I was in sales from 2009 to 2013.

2:25:35 15      Q.   In sales, did you have any reports that would tell you

2:25:38 16      whether we have an up month or a down month?

2:25:40 17      A.   For my sales areas, yes.

2:25:42 18      Q.   And what sales were those?

2:25:46 19      A.   Well, I had quite a few different areas over time.         So from

2:25:51 20      2009 to 2013, I was building our business and consumer channels

2:25:54 21      so I worked with our retail stores, I worked with our

2:25:58 22      third-party locations across the country to establish a

2:26:00 23      distribution, if you will, for small businesses.

2:26:04 24                And then in 2013 I went to become the area sales

2:26:10 25      director for Kansas City and for St. Louis, Birmingham, New


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2:26:15   1     Orleans, Little Rock, Wichita, Oklahoma city and Tulsa.

2:26:19   2     Q.   And did that include Nextel subscribers?

2:26:21   3     A.   It did.

2:26:26   4     Q.   And so would you know how many Nextel subscribers you gained

2:26:28   5     or lost during those time periods?

2:26:33   6     A.   In those windows I probably would have.

2:26:38   7     Q.   And so this document shows in 2009 there were, I think these

2:26:44   8     are in millions, 7.255 million subscribers on the Nextel

2:26:45   9     platform; is that correct?

2:26:47 10                  MS. WHEATLEY:     Objection, relevance and foundation.

2:26:52 11                  THE COURT:     Yeah.   You're asking him if he knew and

2:26:56 12      then you're telling him what some paper says, whether he knew

2:27:00 13      that or not.    If you know it, you can answer it.       If you are

2:27:04 14      asking if he can read it, I'll bet you probably can.

2:27:07 15                  THE WITNESS:     The only way I would know these numbers,

2:27:09 16      Your Honor, would be reading them off this page right now.

2:27:12 17                  THE COURT:     Okay.   He doesn't have personal knowledge.

2:27:12 18           BY MR. KERNELL:

2:27:17 19      Q.   Were you aware that there was a trend, a declining trend of

2:27:22 20      subscribers on the Nextel network from 2009 through 2012?

2:27:26 21      A.   Yes.    Yes.   I believe I answered that we were in the process

2:27:29 22      of transitioning those subscribers from the iDEN base all the

2:27:33 23      way over to the new CDMA base, right, providing that better

2:27:36 24      network experience.        So that was the plan all along, and that

2:27:43 25      was a way to logically do it in a management way of moving those


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2:27:44   1     subscribers over.

2:27:54   2     Q.   Okay.     And then -- so also in 2013, did Sprint change its

2:27:56   3     name?

2:28:00   4     A.   2013, I believe Sprint changed its name back to Sprint

2:28:06   5     Corporation with the closing of the Soft Bank deal.

2:28:09   6     Acquisition.     The big event from 2012.

2:28:14   7     Q.   It went from Sprint Nextel to Sprint back to Sprint.

2:28:16   8     A.   I believe the legal entity did, yes.

2:28:20   9     Q.   And that's the way it was then marketed -- and sales and

2:28:24 10      marketing was Sprint Corporation, correct?

2:28:27 11      A.   Yeah, correct.

2:28:32 12                   THE COURT:     It's hard to put nodding head and uh-huh

2:28:38 13      and huh-uh are remarkably similarly spelled, so you have to say

2:28:39 14      yes or no.

2:28:40 15                   THE WITNESS:     Yes, sir.   Yes, Your Honor.

2:28:40 16           BY MR. KERNELL:

2:28:46 17      Q.   Were you aware of any -- in the -- in your capacity in

2:28:50 18      sales, was it sales and marketing or just sales?

2:28:53 19      A.   I was in sales at that time.

2:28:58 20      Q.   Were you involved at all or know about any decommissioning

2:29:05 21      of infrastructure or anything on the technical side of the

2:29:07 22      network?

2:29:10 23      A.   I would have no firsthand knowledge of that.

2:29:43 24      Q.   A little bit earlier we talked about the churn rate.         Do you

2:29:43 25      recall that?


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2:29:45   1     A.   I do.

2:29:48   2     Q.   And I believe you testified that you're familiar with the

2:29:53   3     churn and what was going on at Sprint at this time.

2:29:54   4     A.   What time?

2:29:58   5     Q.   In this 2013 time frame.

2:30:01   6     A.   2013.     Okay.    Yes.

2:30:08   7     Q.   On this document, it talks about the churn rate from 2011

2:30:10   8     through 2013.     Do you see that?

2:30:12   9     A.   I see that.

2:30:15 10                   MS. WHEATLEY:      Objection, relevance.

2:30:21 11                   THE COURT:     Well, the question so far is just did he

2:30:25 12      see it.   He saw it.        What's the next question?

2:30:25 13           BY MR. KERNELL:

2:30:34 14      Q.   You had stated that Sprint had a higher churn rate than

2:30:36 15      average in the industry.         Is that correct?

2:30:40 16      A.   I stated that, yes.

2:30:44 17      Q.   If you look at the churn rate for the Sprint platform at the

2:30:47 18      end of June 30, 2013 --

2:30:49 19                   MS. WHEATLEY:      Objection, foundation.

2:30:51 20                   THE COURT:     Sustain the objection.      He can read as well

2:30:56 21      as anyone else.        This is in evidence, the jury can read it.

2:30:59 22      Unless you got a question that relates to the document, not just

2:31:01 23      reading it.

2:31:04 24                   MR. KERNELL:      I was going to ask him a question about

2:31:04 25      --


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2:31:07   1                 THE COURT:     Well, go ahead and ask the question then.

2:31:07   2          BY MR. KERNELL:

2:31:13   3     Q.   Is a 5.22% churn rate a high churn rate?

2:31:17   4                 THE COURT:     You may answer that question if you know.

2:31:18   5                 THE WITNESS:     It's high.

2:31:18   6          BY MR. KERNELL:

2:31:22   7     Q.   Do you know what the average churn rate in the industry was

2:31:24   8     at that time?

2:31:29   9     A.   I don't know.       Let me just be clear, no I don't know what

2:31:32 10      the average churn rate was in the industry at that time.

2:31:41 11      Q.   And then a churn rate of 33.9%.        Is that high?

2:31:45 12      A.   That is high.       And that particular one was when we actually

2:31:48 13      turned off the iDEN network and the remaining subscribers were

2:31:53 14      turned off.     Now, that 33.9% is relevant to how many subscribers

2:31:57 15      are left and as I talked about before, the shrinking number of

2:32:01 16      iDEN subscribers makes that number go up every month, and you

2:32:04 17      can actually look at it on the page here and you'll see that it

2:32:08 18      does go up every month because the base is migrating off of that

2:32:12 19      network over to the CDMA network.         So absolutely, makes complete

2:32:16 20      sense.

2:32:21 21      Q.   Then the next section where it says Nextel platform

2:32:28 22      subscribers recaptures, it shows in June 30, 2013 that on the

2:32:34 23      post-paid for Nextel platform recaptures is only 34%.         Do you

2:32:34 24      see that?

2:32:36 25      A.   I see that.


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2:32:40   1     Q.     That's only a third of those leaving the iDEN network,

2:32:41   2     correct?

2:32:42   3                 MS. WHEATLEY:     Objection, foundation and relevance.

2:32:44   4                 THE COURT:     I'll permit him to answer it if he can.

2:32:47   5                 THE WITNESS:     It's a reflection of the 34% of those

2:32:51   6     subscribers that were left on that month on June 30, 2013, which

2:32:54   7     I've explained is the last month which will be our smallest

2:32:59   8     amount of relevant subscribers on the base.          So there's probably

2:33:03   9     -- I wouldn't say there's probably, there was subscribers that

2:33:07 10      were not in use anymore, so those customers would just roll off

2:33:12 11      naturally.    So your recapture rate of 34% is what, of that

2:33:18 12      month, that last month we had the subscribers how many of them

2:33:22 13      we recaptured and put them on the CDMA network.          The other 60 --

2:33:23 14      I'm going to do the math real quick here, 66%, would have been

2:33:25 15      turned off.

2:33:25 16             BY MR. KERNELL:

2:33:30 17      Q.     You don't know where those subscribers went off after that?

2:33:33 18      A.     Well, if they were turned off by us after that, I know they

2:33:36 19      were nonuse subscribers.       If they were left, they would have

2:33:41 20      already been moved to a different carrier.          So those went away.

2:33:49 21      Q.     Can you explain why in March 31, 2011, two years before the

2:33:54 22      network was shutdown, the retention or the recaptures were only

2:33:57 23      27%?

2:34:02 24      A.     I don't know that I can -- of post-paid?

2:34:06 25      Q.     Of post-paid and of prepaid.     Only 27%.


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2:34:12   1     A.   No, I can't explain that particular month, no.

2:35:11   2     Q.   What I've displayed here is Defendants' Exhibit 5022 which

2:35:19   3     is the 2014 -- from January 1, 2014 to March 31, 2014 SEC

2:35:41   4     filing.   Now, in 2014 Sprint continued to identify Nextel as a

2:35:43   5     trademark, correct?

2:35:48   6     A.   Yes, we have and continued to.

2:36:03   7     Q.   And in looking at Page 29, this exhibit, it shows that --

2:36:10   8     were you aware that in 2014 that Sprint's continued to lose

2:36:11   9     customers?

2:36:15 10      A.   Every carrier loses customers.      It's called churn, and it's

2:36:21 11      measured on a monthly basis.      And as subscribers move from one

2:36:24 12      carrier to another carrier, that's churn.        So every customer,

2:36:29 13      every carrier loses churn.      So yes, I'm aware that Sprint lost

2:36:29 14      customers.

2:36:32 15      Q.   But they had a net loss of customers, correct?

2:36:36 16      A.   Well, would you show that to me here so I can affirm that?

2:36:39 17      Because I don't recall this net subscriber number from every

2:36:44 18      quarter and every year.

2:36:58 19      Q.   So does this help refresh your memory on the losses?

2:37:02 20      A.   Does it refresh my memory?     It's -- actually I'm looking at

2:37:05 21      this the first time, so I'm going to have to read it.

2:37:06 22      Q.   That's fair.

2:37:08 23                MS. WHEATLEY:    Objection, Your Honor.     He's asking him

2:37:09 24      to read the document.

2:37:11 25                MR. KERNELL:    No, I said that's


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2:37:12   1               (Cross-talk)

2:37:13   2               MS. WHEATLEY: ...since this is not a document he

2:37:14   3     authored or had anything to do with.

2:37:14   4               MR. KERNELL:     That's why I've moved on.

2:37:17   5          THE COURT:    I'll sustain the objection.     Move on.

2:37:37   6               MS. WHEATLEY:     Your Honor, can we not publish

2:37:39   7     Defendants' screen to the jury?

2:37:42   8               THE COURT:     Defendants' what?

2:37:43   9               MS. WHEATLEY:     Defendants' screen shows up for the jury

2:37:47 10      when they change exhibits.

2:37:49 11                MR. KERNELL:     Tried not to do it, but I clicked on the

2:37:52 12      wrong button.

2:37:56 13                THE COURT:     I'll click on the other button that shuts

2:37:57 14      it off.

2:37:57 15           BY MR. KERNELL:

2:38:05 16      Q.   What's shown in Exhibit 5024 is the form 10-K SEC filing of

2:38:16 17      March 31, 2015 for Sprint Corporation.       Again, in this document

2:38:21 18      it identifies Nextel as one of the trademarks of Sprint along

2:38:27 19      with Sprint Direct Connect, Boost Mobile and Assurance Wireless.

2:38:30 20      Were there any other -- do you know of any other trademarks that

2:38:36 21      Sprint was using at this time that is not -- that are not

2:38:37 22      identified here?

2:38:43 23      A.   I think Virgin.     You know, I don't know them all, but I know

2:38:47 24      we just talked about Virgin as an acquisition, so I know we used

2:38:51 25      Virgin.   But again, I don't really keep track of all of the


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2:38:57   1     trademarks at Sprint Corporation, just the ones I deal with.

2:39:01   2     Q.   And I believe on the previous page it identifies Sprint,

2:39:05   3     Boost Mobile, Virgin Mobile and Assurance Wireless there.

2:39:06   4     A.   Okay.

2:39:07   5     Q.   So --

2:39:08   6                  THE COURT:     Is that a question?

2:39:11   7                  MR. KERNELL:     Just in response to his saying he didn't

2:39:13   8     see Virgin, and I said I believe it is there.

2:39:15   9                  Do you see that, Mr. Shaughnessy?

2:39:17 10                   THE WITNESS:     I saw that.

2:39:17 11                   MR. KERNELL:     Okay.

2:39:17 12           BY MR. KERNELL:

2:39:36 13      Q.   Now, this is the fiscal year ended March 31, 2006, it's

2:39:42 14      Exhibit Number 5231, Form 10-K for Sprint.

2:39:52 15                   Now, in the trademarks section here on this page, nine,

2:39:57 16      it identifies Sprint, Boost Mobile and Assurance Wireless.           Do

2:39:59 17      you see that?

2:40:02 18                   MS. WHEATLEY:     Renew the objection.

2:40:04 19                   MR. KERNELL:     It's a question, do you see that.

2:40:07 20                   THE COURT:     I know it's a question, but okay.     Do you

2:40:09 21      see that?

2:40:11 22                   THE WITNESS:     Can you restate the question?     I'm sorry.

2:40:11 23           BY MR. KERNELL:

2:40:15 24      Q.   Yes.     I said under the trademarks it identifies Sprint,

2:40:19 25      Boost Mobile and Assurance Wireless.         Do you see that?


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2:40:19   1     A.   I see that.

2:40:29   2     Q.   Now, all previous years leading up to this date, March 31,

2:40:42   3     2016, from 2005 to 2015, Nextel was identified as a trademark.

2:40:46   4     Why isn't it in the 2016, do you know?

2:40:53   5     A.   I don't know.       I know that we don't use this as a marketing

2:40:58   6     document, this is a financial statement.          I was in the marketing

2:41:02   7     side, 2016 I rejoined the marketing side in fact.          I was in

2:41:07   8     sales up until 2016.        So I don't know and I know this is not a

2:41:11   9     marketing guide.

2:41:32 10                  MR. KERNELL:     I'm going to offer into evidence

2:41:40 11      Defendants' Exhibit 5019 which is not objected to.

2:41:49 12                  THE COURT:     Is 5019 not objected to, the press release?

2:41:50 13                  MR. KERNELL:     Yes.

2:41:53 14                  THE COURT:     I'm looking at them.    No offense but --

2:41:55 15                  MS. WHEATLEY:     Sorry.   No objection, Your Honor.

2:41:58 16                  THE COURT:     Without objection, 5019 is admitted in

2:42:02 17      evidence.

2:42:06 18                  (Defense Exhibit 5019 in evidence)

2:42:06 19           BY MR. KERNELL:

2:42:24 20      Q.   In your, I guess, work as sales and marketing, have you ever

2:42:30 21      been in charge of producing press releases for Sprint?

2:42:34 22      A.   No, I've never been in charge of producing them.         I have

2:42:36 23      reviewed them, but I've not produced them.

2:42:37 24      Q.   You've used them?

2:42:40 25      A.   I've reviewed them, but I've not produced them.


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2:42:42   1     Q.   Do you recall reviewing this press release?

2:42:44   2     A.   I don't recall reviewing this press release.        I may have

2:42:49   3     read it, but I don't recall reviewing it from a -- like a

2:42:50   4     publication perspective.

2:42:54   5     Q.   Before today, have you seen this press release?

2:43:00   6     A.   I've seen a lot of press releases from Sprint so I'm going

2:43:03   7     to -- I'll answer that I could have.        I don't know definitively

2:43:08   8     if I've read this press release.

2:43:31   9     Q.   In this press release, let me look, it refers to the iDEN

2:43:33 10      Nextel National Network.        Do you see that?

2:43:34 11      A.   I see that.

2:43:38 12      Q.   Now, is that terminology that you used in sales and

2:43:39 13      marketing?

2:43:43 14      A.   No, it usually just use the Nextel Network.        The iDEN piece

2:43:47 15      was not something that we necessarily had in our sales and

2:43:48 16      marketing collateral.

2:43:51 17      Q.   You just referred to the Nextel Network?

2:43:53 18      A.   We just referred to Nextel.

2:43:54 19      Q.   On the Sprint Network?

2:43:55 20      A.   Direct Connect, push-to-talk, yeah.

2:43:58 21      Q.   Okay.

2:44:26 22                   MR. KERNELL:     If I may take a moment, Your Honor?

2:44:29 23                   THE COURT:     You have.

2:45:20 24                   MR. KERNELL:     I'd like to offer into evidence

2:45:25 25      Defendants Exhibit 5036.


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2:45:28   1                 THE COURT:     5036.    Being offered into evidence.     Is

2:45:30   2     there any objection?

2:45:32   3                 MS. WHEATLEY:     Your Honor, that wasn't disclosed so we

2:45:36   4     need just a moment to see it on our list.

2:45:39   5                 THE COURT:     I'm sorry, I could not hear what you said.

2:45:43   6     Wasn't disclosed to us, so need a moment to see it.          Take your

2:45:45   7     moment.

2:45:47   8                 MS. WHEATLEY:     Your Honor, we do object to the

2:45:50   9     foundation of using this document with this witness.

2:45:52 10                  THE COURT:     All right.    Then let's -- jurors, if you

2:45:55 11      can please excuse us, go into the jury room, we'll call you back

2:46:00 12      in a couple minutes.        Sorry, but I figured you would be more

2:46:03 13      comfortable.

2:46:11 14                  (Jury out at 2:46 p.m.)

2:46:34 15                  THE COURT:     Okay.    What's the objection?

2:46:37 16                  MS. WHEATLEY:     Your Honor, this is a compilation of

2:46:45 17      cease and desist letters.          We object to these coming in through

2:46:48 18      Mr. Shaughnessy because he is not the author, he's not CCed, he

2:46:50 19      has, to my knowledge, no knowledge of these letters.

2:46:57 20                  THE COURT:     Okay. What is the purpose of introducing

2:46:59 21      them now?

2:47:00 22                  MR. KERNELL:     Well Your Honor, Mr. Shaughnessy

2:47:11 23      testified earlier that he was at the IWCE trade show and in 2017

2:47:19 24      that he sent his pictures to Melissa Jobe, and then -- and

2:47:26 25      identified the individuals here in this courtroom.          So the


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2:47:27   1     question is did he --

2:47:30   2                 THE COURT:     I don't know how that makes him the guy to

2:47:34   3     introduce them through.        I mean, this is just very strange.     I

2:47:37   4     don't understand the juxtaposition of exhibits with this

2:47:43   5     gentleman that's on the stand.        It doesn't make any sense to me.

2:47:47   6                 MR. KERNELL:     Well Your Honor, that's why quite frankly

2:47:52   7     why we asked that Ms. Jobe be present.        She was identified on

2:47:57   8     all the exhibits -- on all the witness lists up until just

2:48:01   9     recently.    She's the author of these, she's the trademark

2:48:05 10      attorney that was involved in all these matters.         So we're

2:48:11 11      asking a Sprint representative to bring these documents in.

2:48:13 12                  MS. WHEATLEY:     Your Honor, they were able to question

2:48:16 13      Ms. Jobe on these letters in her deposition, and they have her

2:48:21 14      transcript and they plan to read it to the jury.

2:48:24 15                  THE COURT:     I'll be honest with you, I'm seriously

2:48:28 16      considering putting a time limit on you for the witness because

2:48:31 17      this is an awful waste of time what you're doing right now.

2:48:39 18      Offering these through Mr. Shaughnessy makes no sense to me at

2:48:44 19      all.   I've just looked through it very briefly, they don't seem

2:48:49 20      to have anything to do with him.        You have taken the deposition

2:48:55 21      of whatever the lady's name was, and I'll sustain the objection

2:49:00 22      at this point.    Doesn't mean they're not admissible, and you can

2:49:03 23      introduce them right now, but don't ask this witness any

2:49:08 24      questions about them other than have you ever seen them before,

2:49:13 25      something like that.        So bring the jury back in please.


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2:49:18   1                 (Jury in at 2:49 p.m.)

2:49:21   2                 MR. KERNELL:     Do I publish this to the jury?

2:49:25   3                 THE COURT:     You can, by handing it to them or

2:49:28   4     something.    But move on.      You've got a witness on the stand.

2:49:35   5     Ask the witness a question.        When you're done with him, you're

2:49:37   6     done with him.

2:50:07   7                 Take my advice, never pass up a chance to go to the

2:50:09   8     bathroom.

2:50:10   9                 COURT SECURITY OFFICER:        Three in the bathroom, Your

2:50:11 10      Honor.

2:50:13 11                  THE COURT:     That's good.     There's only two bathrooms.

2:50:19 12      What are you doing?        Jurors can be seated.     We're standing for

2:50:20 13      you.

2:50:22 14                  MR. KERNELL:     No further questions, Your Honor.

2:50:24 15                  THE COURT:     All right.     Hold on.   Wait until all the

2:50:29 16      jurors are here, then you can have no further questions.

2:50:43 17      There's two missing and two bathrooms.           That's makes sense.        I

2:51:23 18      can count, and I do.        You all can be seated.        We'll just wait

2:51:55 19      for them sitting down.        Orlando, you didn't scare them out the

2:51:56 20      other door, did you?

2:51:59 21                  COURT SECURITY OFFICER:        I didn't Your Honor.     Promise.

2:52:26 22                  THE COURT:     Go make sure they're not sitting in the

2:52:29 23      jury room waiting for us.        I don't think they would be but just

2:52:31 24      in case.

2:52:35 25                  COURT SECURITY OFFICER:        They're not.


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2:52:38   1                  THE COURT:     Okay.   We can wait.   They've had to wait on

2:52:42   2     us many times so we'll wait for them.           Not a problem.

2:53:34   3                  You may proceed, sir.

2:53:37   4                  MR. KERNELL:     No further questions.

2:53:37   5                  THE COURT:     Thank you, sir.

2:53:47   6                  Yes, ma'am.     You may proceed.

2:53:47   7                                   CROSS-EXAMINATION

2:53:47   8          BY MS. WHEATLEY:

2:53:52   9     Q.   Mr. Shaughnessy, Mr. Kernell took you through what's called

2:53:53 10      10-K documents, correct?

2:53:54 11      A.   Correct.

2:53:58 12      Q.   And these are financial reports submitted to the Securities

2:54:00 13      and Exchange Commission, correct?

2:54:01 14      A.   Correct.

2:54:07 15      Q.   When you decide to use the Nextel brand in marketing, do you

2:54:09 16      consult the 10-Ks?

2:54:10 17      A.   No.

2:54:12 18      Q.   Do you rely on the 10-Ks at all?

2:54:13 19      A.   No.

2:54:25 20      Q.   Okay.     Now, I'd like to pull up exhibit 5231 that Defendants

2:54:34 21      showed to you.     5231.

2:54:38 22                   THE COURT:     Which is in evidence, correct?

2:54:38 23                   MS. WHEATLEY:     Yes, Your Honor.

2:54:39 24                   THE COURT:     Okay.

2:54:39 25           BY MS. WHEATLEY:


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2:54:47   1     Q.   If we could turn to Page 9, I just want to look at the

2:54:50   2     patents, trademarks and licenses section that Mr. Kernell talked

2:54:57   3     to you about.    And do you see where it says we own numerous

2:55:02   4     patents, patent applications, service marks, trademarks, and

2:55:05   5     other intellectual property in the US and other countries

2:55:12   6     including Sprint, Boost Mobile and Assurance Wireless.

2:55:16   7                Now, are Sprint, Boost Mobile and Assurance Wireless

2:55:19   8     the only trademarks Sprint owns?

2:55:19   9     A.   No.

2:55:22 10      Q.   And in this sentence are there any patents listed?

2:55:26 11      A.   Not that I can see, no.

2:55:28 12      Q.   Are there any patent applications listed?

2:55:30 13      A.   No.

2:55:32 14      Q.   Any other intellectual property listed?

2:55:37 15      A.   Not in the highlighted sentence, no.

2:55:40 16                 MS. WHEATLEY:     Thank you Mr. Shaughnessy.

2:55:41 17                 No further questions.

2:55:44 18                 THE COURT:     Redirect?

2:55:48 19                 MR. KERNELL:     No redirect.

2:55:51 20                 THE COURT:     Thank you, sir.     You are excused.

2:55:58 21                 THE WITNESS:     Thank you.     Do I take this evidence back

2:56:00 22      with me or leave it here.

2:56:01 23                 THE COURT:     Leave it there.     Leave it on the desk.

2:56:04 24      Somebody will come get it.

2:56:06 25                 Call your next witness please.


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2:56:07   1                 MR. SCHWARTZ:   Your Honor, could we have a quick

2:56:11   2     sidebar on the witness we discussed earlier this morning, and

2:56:14   3     then we have one other issue.        We've been trying to work out

2:56:15   4     some issues on the transcript.

2:56:17   5                 THE COURT:   No, but I'll tell you what, I'm going to

2:56:21   6     send you back so the rest of you can use the bathroom, after

2:56:22   7     these two did.

2:56:26   8                 COURT SECURITY OFFICER:     All rise for the jury.

2:56:30   9                 (Jury out at 2:56 p.m.)

2:56:36 10                  THE COURT:   I don't like sidebars.

2:57:00 11                  You may be seated.     Door closed?    All right.   You may

2:57:01 12      proceed.

2:57:04 13                  MR. SCHWARTZ:   Yes, Your Honor.      Earlier this morning,

2:57:08 14      just to deal with some housekeeping, you reserved ruling on the

2:57:12 15      issue of Mr. Jose Rivera.        So we just -- in order to manage our

2:57:15 16      schedule, we just wanted to know what the Court'S position was

2:57:16 17      on that.

2:57:17 18                  THE COURT:   Remind me again what the issue was.

2:57:20 19                  MR. SCHWARTZ:   The issue was, Your Honor, that we

2:57:26 20      intend to call Jose Rivera, corporate rep for Nextel and,

2:57:30 21      Plaintiffs claim that he's a surprise witness, we both submitted

2:57:36 22      trial memos.     I advised the Court that there was at least six,

2:57:41 23      seven, eight instances of disclosures going back as far as 2017

2:57:46 24      pre-suit.    And then in the year of 2018, Mr. Rivera was listed

2:57:52 25      actually on the Plaintiff's preliminary witness list.           He was on


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2:57:55   1     our -- identified as an employee of one of the Defendants.

2:58:00   2     There was letters, the investigation that the gentleman

2:58:04   3     testified to, he was told specifically by Ms. Wheatley about Mr.

2:58:09   4     Kaplan, Mr. Rivera and Mr. Calabrese.       There was a few other

2:58:13   5     instances, and so there's no prejudice with regard to that

2:58:16   6     particular witness.

2:58:19   7               THE COURT:    All right.   I remember now.     I'll permit

2:58:21   8     it.

2:58:23   9               MR. RIOPELLE:    May I address the point?

2:58:26 10                THE COURT:    Sure.   Of course you may.     For a reasonable

2:58:27 11      amount of time.

2:58:29 12                MR. RIOPELLE:    Of course.    The issue here, Your Honor,

2:58:35 13      is not whether we knew the identity of Mr. Rivera; the issue is

2:58:40 14      whether Defendants identified Mr. Rivera as someone who would

2:58:46 15      support its claims.     That's exactly what Judge Bloom in the

2:58:52 16      National Union case pointed out and made her decision on.          The

2:59:00 17      reason that he was on our list in November of 2018, the Court

2:59:04 18      had ordered preliminary witness lists.       It was before any

2:59:08 19      depositions had been taken.      So out of an abundance of caution,

2:59:13 20      of course we knew from corporate records that he was an owner.

2:59:17 21      When we sought the deposition of 30(b)(6) deposition of Nextel,

2:59:25 22      Inc.   Mr. Calabrese was identified on all topics and based on

2:59:29 23      his deposition testimony, it appeared that Mr. Rivera had no

2:59:33 24      major role and was not going to be used, was not being

2:59:35 25      identified as someone on who they were going to rely on their


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2:59:40   1     claims.     So the next time we filed our witness list, which was

2:59:43   2     getting ready for the first time this trial was scheduled, we

2:59:48   3     removed him.     Defendants did not put him on their witness list.

2:59:51   4                 Fast-forward now to when we the trial gets rescheduled

2:59:57   5     until now, in March we do not put him on our witness list, they

3:00:01   6     do not put him on their witness list.        The first time they -- so

3:00:03   7     he's not been deposed, we have no idea what he's going to

3:00:08   8     testify about, he did not testify, was not designated by them as

3:00:13   9     a 30(b)(6), and they have never -- what they're doing is they're

3:00:19 10      trying to put the burden on us, but the burden under the rules,

3:00:22 11      under Rule 37, it's on them.        They have to have identified him

3:00:25 12      as someone who would support their claims.        They did not do

3:00:30 13      that.     So under Rule 37, as Judge Bloom held in the National

3:00:35 14      Union case, they do not get to call him as a witness.

3:00:40 15                  And the one thing I'd also add to this, they were doing

3:00:50 16      this because Mr. Calabrese was now unavailable.         We have waived

3:00:55 17      our right to object to them reading Mr. Calabrese's deposition

3:01:00 18      in their case.     So they can remedy it through the deposition

3:01:04 19      that has been read.      They don't get to remedy it.

3:01:07 20                  MR. SCHWARTZ:   I didn't need his permission, Your

3:01:08 21      Honor.

3:01:09 22                  MR. RIOPELLE:   Stop.    Stop this.

3:01:11 23                  THE COURT:   Why do you keep interrupting?

3:01:12 24                  MR. SCHWARTZ:   I'm sorry, Your Honor.

3:01:13 25                  THE COURT:   Don't.


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3:01:14   1                MR. SCHWARTZ:      I apologize.

3:01:14   2                THE COURT:   Go.

3:01:16   3                MR. RIOPELLE:      They don't get to remedy it by calling a

3:01:19   4     witness who has never been identified by them as a witness and

3:01:23   5     was never identified as someone who was going to support their

3:01:27   6     claims.    And I would say that we did have a right to not have

3:01:33   7     them read Mr. Calabrese's deposition, but we're waiving that

3:01:35   8     right because we, of course, know that we have no idea what

3:01:40   9     Mr. Rivera is going to say.       And again, I do have a copy of the

3:01:43 10      National Union case Your Honor, but I will say that it is

3:01:44 11      highlighted.

3:01:45 12                 THE COURT:   I don't care about the highlighting.       I

3:02:02 13      read the case.    I'm not real sure that her case is really

3:02:09 14      exactly on point, but that's not the issue.         I don't know why

3:02:14 15      you didn't take his deposition anyway as an owner.

3:02:20 16                 MR. RIOPELLE:      I can address that.

3:02:21 17                 THE COURT:   Go ahead.

3:02:23 18                 MR. RIOPELLE:      We took it because -- we took the

3:02:25 19      deposition of the company as a 30(b)(6), and the personal

3:02:28 20      deposition of Mr. Calabrese.        And the way Mr. Calabrese -- and I

3:02:32 21      can find it here, I have it.        When he testified about what

3:02:43 22      Mr. Rivera was doing, he testified -- for example, we asked him

3:02:46 23      the question can you give me some examples of some assistance

3:02:51 24      Mr. Rivera has provided at NW?        Answer, today he's answering my

3:02:55 25      phone.    Maybe shipping something.      Helping me go to the Post


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3:03:00   1     Office and ship something.      Question, has he done any more

3:03:04   2     substantive work for NW or was it mostly tasks like that?

3:03:07   3     Answering of phones, shipping something.        Stuff like that,

3:03:08   4     that's it.

3:03:12   5               Based on that, we had no reason to waste our client's

3:03:13   6     money or our time.

3:03:16   7               THE COURT:    Yeah, that doesn't really give them much

3:03:19   8     reason to talk to him at all.

3:03:21   9               All right.    Now it's your turn.

3:03:24 10                MR. SCHWARTZ:    Your Honor, the test is not whether or

3:03:29 11      not they decided in their own case to depose other witnesses.

3:03:35 12      They listed 50 or so witnesses.      The principle of Rule 26 is to

3:03:39 13      exchange basic information.      And they actually knew about

3:03:43 14      Mr. Rivera before the lawsuit was even filed.

3:03:45 15                THE COURT:    Yeah, but when they took the deposition of

3:03:49 16      the guy that is acknowledged to have been the main guy, he said

3:03:53 17      he was a gopher.     He was the office boy.

3:03:55 18                MR. SCHWARTZ:    Your Honor, with all due respect to

3:03:59 19      Mr. Rivera sitting here, he's a 50/50 owner.        He's the vice

3:04:02 20      president.   He's listed on SunBiz.      He has been since

3:04:06 21      incorporation.     He's a director, he's an officer, he was more

3:04:08 22      than that.   We would have to go through the whole deposition to

3:04:11 23      see and parse out -- and by the way, I wasn't the one taking the

3:04:14 24      deposition, Ms. Wheatley took it.       I don't know what she was

3:04:17 25      going to ask.    Maybe she looked at Mr. Calabrese and thought --


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3:04:21   1     you saw him on the video, maybe she asked him a few questions,

3:04:25   2     didn't ask the right questions.      That's not my job.      That's

3:04:25   3     their job.

3:04:27   4               THE COURT:     One of the questions that was asked was

3:04:32   5     what was his role and the answer was that he picked up coffee

3:04:38   6     and ran errands.      Read that part back to me again, Counsel.

3:04:41   7     Read the question and the answer.

3:04:42   8               MR. RIOPELLE:     Yes, Your Honor.

3:04:45   9               Question:     Can you give me some examples of some

3:04:51 10      assistance Mr. Rivera has provided to NW?        Answer:    Today he's

3:04:55 11      answering my phone.      Maybe shipping something, helping me go to

3:04:59 12      the Post Office and ship something.       Question:      Has he done any

3:05:03 13      more substantive work for NW or is it mostly tasks like that

3:05:06 14      answering of phone, shipping something?        Answer:     Stuff like

3:05:09 15      that, that's it.

3:05:11 16                MR. SCHWARTZ:     Your Honor, I can show you other areas

3:05:15 17      of the deposition where he asks him no, I consider him a 50/50

3:05:19 18      owner with me.     Does he do any work for NW?     Yeah, he helps me.

3:05:23 19      It's maybe work if you define it like that.        I mean, it's just,

3:05:29 20      he does what needs to be done.      So it could be work, you know.

3:05:36 21      That's very subjective for a small business where it's just at

3:05:40 22      that moment in time.      Mr. Rivera and Mr. Calabrese.      And it

3:05:43 23      would be highly prejudicial under the rules, under the case law

3:05:48 24      cited in the memo for you to foreclose us from calling

3:05:52 25      Mr. Rivera as a witness in this particular case.


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3:05:55   1                THE COURT:   You have a duty to disclose, which is wiped

3:05:59   2     out by their having noticed him.      But then they removed him and

3:06:02   3     it appears that at least one of the reasons for them removing

3:06:05   4     was that they were told he had nothing to do with anything, and

3:06:08   5     that would have been a waste of time and money to take his

3:06:15   6     deposition.   Your president told them he was the office boy.

3:06:17   7                MR. SCHWARTZ:   I don't think he said office boy, Your

3:06:17   8     Honor.

3:06:20   9                THE COURT:   Of course not.    But he said he ran

3:06:25 10      errands, he made shipments, he answered the phone.         That doesn't

3:06:30 11      sound like a person that's worth taking a deposition of.

3:06:32 12                 MR. SCHWARTZ:   I can't control what they've decided to

3:06:33 13      do on their case.

3:06:35 14                 THE COURT:   No, and that's not what they're asking you

3:06:40 15      to, but you can control what your president says is this guy's

3:06:45 16      function to prevent them being misled.       And I think they were

3:06:48 17      misled in this one.

3:06:50 18                 MR. SCHWARTZ:   Your Honor, if I could point out --

3:06:52 19                 THE COURT:   In determining whether to exclude the

3:06:55 20      testimony of a nondisclosed witness, the Court must consider

3:06:59 21      three factors:    one, the importance of the testimony; two, the

3:07:02 22      reason for the failure to disclose the witness earlier; three,

3:07:06 23      the prejudice to opposing party if the witness is allowed to

3:07:11 24      testify.   I would say that at least two of those three are very

3:07:14 25      strongly in favor of not allowing him to testify.


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3:07:18   1               MR. SCHWARTZ:    Your Honor, Mr. Rivera handles all

3:07:22   2     aspects of that business.     The tech side, the sales side, the

3:07:25   3     financial side.     He's important to the case in terms of just

3:07:29   4     discussing the damages that have incurred to Nextel and --

3:07:31   5               THE COURT:    But that's not what the president of the

3:07:36   6     company said.     And that was a deposition, a sworn testimony.

3:07:39   7     Wasn't it?

3:07:42   8               MR. SCHWARTZ:    It's very subjective as to what they

3:07:45   9     considered his answers to be.      He was identified --

3:07:48 10                THE COURT:    He read the answer to me.

3:07:50 11                MR. SCHWARTZ:    He wasn't just identified on one

3:07:52 12      particular page.     I mean, there was other issues.

3:07:54 13                THE COURT:    Well, give me something else that shows

3:07:58 14      that he did, because what you just read to me before was

3:08:02 15      basically very general and yeah, he does a lot whatever is

3:08:07 16      needed.   Whatever is needed includes picking up the mail,

3:08:10 17      whatever it was that he said before.

3:08:16 18                MR. SCHWARTZ:    If you give me one minute, Your Honor.

3:09:01 19      On Page 268 of the deposition, Mr. Calabrese was asked well,

3:09:04 20      since -- if you want to send -- you know, as your attorneys, I'm

3:09:07 21      sure, have told you, you're required to disclose your

3:09:09 22      calculations of damages.     Uh-huh, yes.     So you know, and, you

3:09:13 23      know, you're required to work -- disclose any documents you rely

3:09:17 24      on to calculate those you damages.       Are you able to do that by

3:09:20 25      the end of this week.     Is that feasible.     Well, it's a team


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3:09:24   1     effort.    So I would say yes on my own personal part, but these

3:09:25   2     gentlemen would be involved.

3:09:27   3                So Mr. Calabrese relied upon Mr. Rivera.

3:09:32   4                THE COURT:   Where does he even mention his name?

3:09:34   5                MR. SCHWARTZ:   Well, it's just Mr. Calabrese and

3:09:38   6     Mr. Rivera.    So when he says it's a team effort, he's referring

3:09:42   7     to his partner, his 50/50 partner, Your Honor.

3:09:45   8                THE COURT:   Does his 50/50 partner have a frog in his

3:09:47   9     pocket when he said these gentlemen?       That's more than one so

3:09:50 10      there's three?    There's seven?

3:09:52 11                 MR. SCHWARTZ:   Well, there was lawyers also that were

3:09:54 12      going to be involved per the --

3:09:57 13                 THE COURT:   I don't know.    I don't buy that.    I'm

3:10:01 14      sorry.    He said -- he doesn't mention his name, he says these

3:10:04 15      gentlemen are going to be involved, and now you're telling me

3:10:08 16      there was only one involved, and that was this gentleman that

3:10:10 17      you want him to testify.

3:10:15 18                 MR. SCHWARTZ:   Your Honor, the private investigator's

3:10:22 19      report identified, per McGuireWoods, that Jose Rivera was one of

3:10:25 20      the owners of the company that they --

3:10:27 21                 THE COURT:   That has not been an issue.      Nobody has

3:10:29 22      said that he isn't one of the owners.

3:10:31 23                 MR. SCHWARTZ:   So for them to suggest that oh, well

3:10:35 24      because of the way Mr. Calabrese answered a particular question

3:10:38 25      which is very subjective, they decided oh, we're not going to


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3:10:39   1     take a deposition.

3:10:42   2               THE COURT:    It's a very direct question.      It was a very

3:10:45   3     direct question and it was asked very direct way, was not

3:10:51   4     confusing.   It was not obtuse, it was not -- you know, it was a

3:10:58   5     very simple question.     What's his job?    He helps with the mail.

3:11:01   6     Does this, he does that.     Why in the world would anybody take

3:11:06   7     his deposition?    The fact that he's an owner?      Yeah, there's --

3:11:09   8     I suspect that public companies have thousands of owners and you

3:11:14   9     can't go take a deposition of everybody that's an owner.          In

3:11:17 10      this case, there just happens to be two of them but one of them,

3:11:21 11      you know, I don't know the percentage of ownership, 50/50, okay,

3:11:25 12      then what is it?     You know, I don't know the splitting of

3:11:28 13      profits, I don't know the responsibilities, but Calabrese should

3:11:32 14      know the responsibilities and what he said made his

3:11:34 15      responsibilities sound like nothing.

3:11:36 16                MR. SCHWARTZ:    May I?

3:11:38 17                THE COURT:    Go ahead.    I gave you the opportunity and I

3:11:41 18      thought you were starting, but what you said to me before

3:11:44 19      doesn't move the ball at all.       Tell me what you got.

3:11:49 20                MR. SCHWARTZ:    On Page 32 when he's first asked about

3:11:55 21      -- that he's the co-owner of NW which is Nextel Worldwide.

3:11:57 22                THE COURT:    I know what it is.    Go ahead.

3:12:00 23                MR. SCHWARTZ:    He says Mr. Rivera.     He asked how he met

3:12:02 24      him.   He said I met him through the telecommunications business

3:12:08 25      and then on Page 33, the questions continue.        We don't really


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3:12:11   1     have roles.     I mean, he just helps me with taking care of

3:12:15   2     business.     Are you -- do you have equal say in all business

3:12:19   3     decisions as far as yes, we both have an equal amount of the

3:12:23   4     company, equal voting.      I believe yes.   And you are the

3:12:27   5     president.     Or is Mr. Rivera the president.     They already knew

3:12:30   6     that Calabrese was the president and they knew Mr. Rivera was

3:12:33   7     the vice president.

3:12:35   8                 THE COURT:   But here's the problem.    If you knew that

3:12:38   9     he was so important, then you should have identified him

3:12:42 10      yourself, not just tagged along with whatever they say.          You

3:12:46 11      should have said, you know, that he was going to be one of your

3:12:52 12      witnesses, not just tagged along.       That's for inferential

3:12:56 13      people.     Failure to disclose, I don't think, is justified.          If

3:13:02 14      you knew that he was a very important figure in this case, you

3:13:05 15      can't hide him in the weeds.

3:13:07 16                  MR. SCHWARTZ:   We certainly weren't hiding him.      He was

3:13:10 17      identified by name on the preliminary witness list and then in

3:13:15 18      our response we indicated that we agreed with the Plaintiff.

3:13:17 19                  THE COURT:   Oh, come on.   I see that language in all of

3:13:22 20      them and that's great, but that doesn't mean, you know, that of

3:13:26 21      itself -- if were talking about somebody that nobody knew was

3:13:29 22      important, then that's fine.      But if you knew that he was

3:13:31 23      important, I think you should have identified him.         And then

3:13:36 24      when they dropped him, you certainly should have identified him.

3:13:40 25      When they dropped him from their witness list, you certainly


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3:13:47   1     should have identified him.      I don't think it's harmless.

3:13:52   2                MR. SCHWARTZ:    I think one other point, Your Honor, is

3:13:56   3     that he was identified not three days before trial, but on March

3:14:01   4     13th as being the corporate representative to attend.

3:14:03   5                THE COURT:   Well of course, because the other guy was

3:14:06   6     in the mental health place.      I mean that's --

3:14:07   7                MR. SCHWARTZ:    I mean that's --

3:14:09   8                THE COURT:   And according to you, there's only two of

3:14:14   9     them.    So the other guy has locked himself up or been sent to

3:14:19 10      somewhere and then who else is there going to be?         There isn't

3:14:19 11      anybody else.

3:14:22 12                 MR. SCHWARTZ:    I'm not -- I can't deny that.     That's

3:14:25 13      how fate has it.    I lost one and I --

3:14:27 14                 THE COURT:   I think you had a duty to identify him and

3:14:29 15      you didn't, and I will not permit him to testify.

3:14:32 16                 Let's move on.    What else you got?

3:14:35 17                 MR. SCHWARTZ:    I just want to know one thing, that he

3:14:39 18      can be called as a rebuttal or impeachment witness if necessary.

3:14:43 19                 THE COURT:   Well, if there's something that's -- yes,

3:14:45 20      the rebuttal witness does not need to be identified, and if

3:14:49 21      there is an occasion why he should be a rebuttal witness, we can

3:14:52 22      -- you know, he can testify in his capacity as a rebuttal

3:14:54 23      witness.

3:14:56 24                 MR. SCHWARTZ:    Just wanted to be clear on that, Your

3:14:56 25      Honor.


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3:14:56   1               THE COURT:    Yeah.

3:14:58   2               MR. SCHWARTZ:    On the issue of a transcript with

3:15:07   3     Mr. Calabrese, our portion that we plan to read, in the break, I

3:15:11   4     was trying -- they've asked me to look at certain issues that

3:15:15   5     they felt needed to be removed from the transcript.         I've been

3:15:19   6     able to deal with three of the four of their items without an

3:15:25   7     issue.   They want to -- but there's, let's call it, ten pages of

3:15:30   8     transcripts concerning what they call damages which they want

3:15:34   9     stricken, but that's not what was discussed among counsel.            What

3:15:37 10      was discussed was that we had designated -- they had designated,

3:15:41 11      they were going to read or show the video in theirs and we were

3:15:43 12      going to do the same.     Not that we were going to come here today

3:15:46 13      and have further dialogue about it.

3:15:52 14                Now on the issue of what's in the order of the motion

3:15:57 15      in limine, on the abandonment issue, no problem, I agreed and I

3:16:01 16      struck out certain issues on the issue of advice of counsel.

3:16:04 17      Again per the order, I took care of that striking out, you know,

3:16:09 18      what they pointed out to me not an issue.        But we shouldn't have

3:16:13 19      further dialogue and argument about what they now maybe don't

3:16:14 20      want to see read.

3:16:16 21                THE COURT:    Well, they removed some of theirs and your

3:16:21 22      testimony would have been in response to that wasn't it?          I

3:16:24 23      don't know.     Let me hear from their side.

3:16:27 24                MR. RIOPELLE:    They had provided to us what were

3:16:31 25      designations.     They were not identified as counters.      Your Honor


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3:16:42   1     has never seen any of theirs.        So when they weren't read or

3:16:46   2     played in our case, I told them yesterday what are you going to

3:16:52   3     play or read from Mr. Calabrese, and they said what we sent you

3:16:56   4     on Sunday.     We said okay fine, we haven't given you any

3:17:00   5     objections yet, let us look at it tonight and we'll give you the

3:17:02   6     objections tomorrow.      And so that's what we've done.     There is

3:17:08   7     parts in there that we're going to object to or we think is

3:17:08   8     objectionable.

3:17:12   9                      On the damages Your Honor, Your Honor ruled on a

3:17:16 10      motion in limine that they have to be very careful about what

3:17:22 11      they put in on the damage.      They can't be putting in speculative

3:17:25 12      stuff, it has to be supported and that's why we're objecting.

3:17:28 13      The testimony they want to put in from Mr. Calabrese is

3:17:29 14      extremely --

3:17:33 15                THE COURT:    Let me hear it so I can rule.

3:17:36 16                MR. SCHWARTZ:     Well, it's about ten pages, Your Honor.

3:17:39 17      Should I just give you the transcript and you take a quick look

3:17:40 18      at it?

3:17:42 19                THE COURT:    All right.     Do you have a witness to put on

3:17:43 20      while I'm doing that?

3:17:47 21                MR. RIOPELLE:     I do have -- I have a marked one that's

3:17:52 22      been marked.     Just highlighted.

3:17:58 23                THE COURT:    You guys haven't agreed on whether the sky

3:18:01 24      is blue, so I don't know how you're going to agree to this.

3:18:02 25                MR. RIOPELLE:     The markings are blue.


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3:18:07   1               THE COURT:    I saw them.     I saw them.

3:18:30   2               (Counsel conferring)

3:18:38   3               MR. RIOPELLE:    While he's looking for this, Your Honor,

3:18:42   4     so we can take stuff and not waste more of the jurors' time, my

3:18:44   5     understanding is they also plan to read from the Jobe

3:18:47   6     deposition, they also plan to read from the Mancuso deposition.

3:18:51   7     We have just some minor things that need to be addressed in

3:18:53   8     those before they're read so we don't interrupt it in the middle

3:18:54   9     of the reading.

3:18:58 10                THE COURT:    Well, why don't we -- you have anything

3:19:05 11      that can be done for the next, roughly, hour or so so that we

3:19:08 12      can let the jury go home early and we'll deal with it after

3:19:11 13      they're gone?

3:19:12 14                MR. RIOPELLE:    Maybe we can work out this Calabrese.        I

3:19:17 15      really would not want the jury to go home early.         I would really

3:19:20 16      like to shoot to getting these closings done and the case go to

3:19:22 17      the jury tomorrow afternoon if we could do that.

3:19:24 18                THE COURT:    That would be very nice.      I would love to

3:19:27 19      do it.

3:19:30 20                MR. RIOPELLE:    You and my wife.

3:19:34 21                THE COURT:    I'm sure.     We're very close, me and your

3:19:35 22      wife.

3:19:38 23                MR. RIOPELLE:    I wondered why she kept saying she

3:19:40 24      wanted to come down here, now I know why.

3:19:42 25                THE COURT:    This case is driving me to take senior


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3:19:47   1     status and become a male model.          That's probably what attracted

3:20:00   2     her to me.   I already got Judge Bloom to take May.

3:20:33   3                MR. RIOPELLE:     The issues on the Mancuso one, Your

3:20:36   4     Honor, are very small if you want to address that.

3:20:37   5                THE COURT:    I don't care, but they're working on

3:20:41   6     something so how are they going to deal with it while --

3:20:46   7                MS. DeFORD:     Your Honor, I can briefly address the two

3:20:50   8     issues that we have with Mr. Mancuso's transcript.

3:20:53   9                THE COURT:    Somebody give me a copy of his transcript

3:20:56 10      and the issues involved, let me read it.

3:20:58 11                 MS. DeFORD:     Yes, Your Honor.

3:21:28 12                 The two issues we have, Your Honor, are related.        They

3:21:32 13      start on Page 83 at Line 20.          The issue we have with this line

3:21:37 14      of testimony is it's testimony from Mr. Mancuso about the letter

3:21:41 15      that Mr. Rubin had given to Mr. Calabrese that he was showing at

3:21:47 16      IWCE.   Prior to yesterday when Mr. Kaplan told the jury that

3:21:52 17      Mr. Rubin had given advice of counsel to Mr. Calabrese, this

3:21:55 18      testimony probably wouldn't have had any context.          But since

3:22:00 19      that disclosure, we're concerned that it will.

3:22:03 20                 THE COURT:    Okay.   Tell me that again please.     Page 83,

3:22:05 21      Line 20?

3:22:08 22                 MS. DeFORD:     Line 20.     So where we're saying what was

3:22:10 23      that paper he showed you, it was just something that he bought,

3:22:13 24      that they bought or owned the name.          If you go down, you can see

3:22:13 25      the questions --


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3:22:15   1               THE COURT:     I remember reading this before when I was

3:22:16   2     looking at the deposition.

3:22:18   3               MS. DeFORD:     Sure.    And so my concern, Your Honor, is

3:22:21   4     now the jury has context around this issue because Mr. Kaplan

3:22:25   5     testified yesterday, without prompting, that Mr. Rubin had given

3:22:29   6     advice of counsel.      And I'm just concerned that that will

3:22:34   7     reinforce something that Your Honor has already excluded by

3:22:36   8     talking about this letter that the Court has excluded and the

3:22:43   9     context of Mr. Mancuso's deposition.

3:22:57 10                THE COURT:     You want that in?

3:22:59 11                MS. DeFORD:     We want that be excluded, Your Honor.

3:23:01 12                THE COURT:     I know.    I'm asking them.     They want it in.

3:23:04 13      Why do you want it in?      What does it prove other than the fact

3:23:06 14      that you might have gotten advice of counsel because when you

3:23:11 15      see that piece of paper, it shows his -- the guy's name and it

3:23:18 16      shows that he's a lawyer and it shows what the advice was that

3:23:26 17      he was giving.    Why is that relevant at all?         What's the

3:23:34 18      relevance of 20 through the next Page, Line 7 on 84?           I think

3:23:38 19      that what you want is in the answer that's immediately before

3:23:46 20      that.   That one I don't see as being particularly relevant.

3:23:58 21                MR. SCHWARTZ:     Well, I would say, Your Honor --

3:24:01 22                THE COURT:     Use the microphone.    Okay?

3:24:08 23                MR. SCHWARTZ:     I'm sorry.    I would say lines 20 through

3:24:13 24      23 should be acceptable.      I understand, you know, 24 and 25

3:24:17 25      which refers to the exhibit.       I'm going to say it continues


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3:24:19   1     where he mentions Mr. Rubin.

3:24:21   2               THE COURT:     All right.    20 through 23, what's the

3:24:23   3     objection to that?

3:24:25   4               MS. DeFORD:     I think the objection there is it's highly

3:24:29   5     misleading.    Mr. Mancuso is testifying from memory on this.

3:24:32   6     He's testifying about what Mr. Rubin had told Mr. Calabrese.

3:24:35   7     Mr. Rubin certainly didn't, in that letter, tell him that they

3:24:38   8     had bought the name or that they owned the name, he was just

3:24:40   9     giving his legal opinion.        It's a back-door way, Your Honor, to

3:24:45 10      get in the legal opinion that this Court has already excluded.

3:24:51 11                THE COURT:     Yeah, I'm going to exclude 20 through the

3:24:52 12      next Page 7.

3:24:54 13                MS. DeFORD:     The only other small issue we have related

3:24:56 14      to that is on Page 85.

3:24:57 15                THE COURT:     What do you got?

3:25:00 16                MS. DeFORD:     This testimony from 15 to -- I'm sorry

3:25:06 17      85/15 all the way down to 86/18 I believe already came in in

3:25:09 18      Plaintiff's case.      I would just like to be clear that the

3:25:13 19      exhibit there, per the Court's ruling yesterday, has been

3:25:16 20      truncated just to the cover e-mail to remove Mr. Rubin's letter.

3:25:20 21      So we would ask that they don't try to introduce a version of

3:25:24 22      that exhibit that would include his letter.

3:25:26 23                THE COURT:     Okay.    So as long as they don't include

3:25:30 24      Mr. Rubin's letter then there's no objection.        You don't plan on

3:25:36 25      trying to sneak Mr. Rubin's letter in through that, are you?


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3:25:38   1               MR. SCHWARTZ:     We've tried, Your Honor, and you shut us

3:25:38   2     down.

3:25:41   3               THE COURT:     So you're not going to try again.           All

3:25:42   4     right.   It's understood.        Is that it?

3:25:43   5               MS. DeFORD:     Thank you, Your Honor.        That's it.

3:25:45   6               THE COURT:     That was easy.        Got to be some

3:25:49   7     complication.    Give it back.       You can have this back.

3:26:07   8               What else do we have that we can discuss right now?

3:26:15   9               MR. RIOPELLE:     We can address some issues in Jobe and,

3:26:19 10      we can go back and address Calabrese.

3:26:21 11                THE COURT:     Somebody is going have to give me Jobe, or

3:26:34 12      the wisdom of, or something.         Patience of Jobe, not the depo of

3:26:35 13      Jobe.

3:26:44 14                All right.     We're talking about Jobe and what else?

3:26:47 15                MR. RIOPELLE:     Judge, did you finish up?           I know that

3:26:50 16      he's looking at the ones he's looking at, but also the damages

3:26:50 17      part.

3:26:52 18                THE COURT:     Okay.     Let's see.     I'll get my copy so I

3:26:55 19      can follow.

3:27:01 20                MR. RIOPELLE:     If you'd like, Your Honor --

3:27:01 21                (Cross-talk)

3:27:06 22                THE COURT:     Very complicated.

3:27:17 23                MS. DeFORD:     I apologize, Your Honor.        On Ms. Jobe, do

3:27:18 24      we have a copy for him?

3:27:21 25                THE COURT:     I have a copy.        It's coming, but it's not


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3:27:23   1     here yet.

3:27:24   2                 MS. DeFORD:     Sure.     Would you like me to wait, Your

3:27:25   3     Honor?

3:27:27   4                 THE COURT:     Tell me in general terms so I can hear it

3:27:30   5     and I'll read it when it gets here.

3:27:32   6                 MS. DeFORD:     Sure.     In our objections to Ms. Jobe's

3:27:35   7     testimony from pages 104 all the way through 107, the Court

3:27:39   8     sustained our objections to testimony from Ms. Jobe based off of

3:27:43   9     a letter that has not been authenticated that she was not on,

3:27:48 10      and that constitutes an inadmissible hearsay between what we

3:27:52 11      think is Mr. Calabrese and some individual who is not going to

3:27:54 12      testify in this case.

3:28:04 13                  Later on at 107/13 all the way down to 108/7, there is

3:28:09 14      continued discussion about what Ms. Jobe did in response or what

3:28:13 15      nobody did in response, because no one at Sprint actually knew

3:28:17 16      that this e-mail exchange had occurred between Mr. Calabrese and

3:28:21 17      this supposed individual.           And out of context, well to start,

3:28:25 18      the entire point of that testimony is to discuss hearsay

3:28:34 19      testimony the Court has already excluded it's 107/13 through

3:28:38 20      108/7.

3:28:42 21                  MR. KERNELL:     108/7 we're not reading that.     You said

3:28:43 22      an earlier one though --

3:28:44 23                  THE COURT:     104.

3:28:46 24                  MR. KERNELL:     104 what?

3:28:48 25                  MS. DeFORD:     Those were already sustained so those


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3:28:52   1     should not be in.      I wanted to make sure.     So if you're saying

3:28:55   2     you're not reading 107, that addresses that.

3:28:57   3               Then the other issue, Your Honor, is very --

3:29:01   4               THE COURT:     Let's make sure we're on the right page.

3:29:03   5               MR. KERNELL:     We're not reading anything off 104.

3:29:07   6               MS. DeFORD:     So it would be 104/13 -- well, you've got

3:29:11   7     to read our counters on 104.

3:29:16   8               (Cross-talk)

3:29:19   9               MS. DeFORD:     Jim, you can't strike our counters without

3:29:23 10      telling us, without giving me -- because we actually counter

3:29:28 11      your designations and we counter them in line.          So if you cut

3:29:31 12      affirmative designations, we need to know what those are.

3:29:32 13                MR. KERNELL:     We were not given --

3:29:36 14                THE COURT:     Okay.   Stop.   Both of you.    Stop, both of

3:29:41 15      you.   The one that's on 104, the yellow, is that the one we're

3:29:41 16      talking about?

3:29:43 17                MS. DeFORD:     Yes, Your Honor.    The yellow on 104.

3:29:45 18                THE COURT:     You're saying that's a counter of 103?

3:29:48 19                MS. DeFORD:     That is a counter to, and I can pull out

3:29:52 20      the chart that we filed with the Court that has the in-line

3:29:54 21      designations.    If you give me one moment, I can tell you what

3:30:10 22      it's a counter to.      It's a counter to several lines of

3:30:11 23      testimony, Your Honor, that start on Page 95.

3:30:20 24                MR. KERNELL:     We're not reading anything before Page

3:30:21 25      108.


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3:30:23   1                MS. DeFORD:     So Your Honor, we haven't been given

3:30:26   2     updated designations from them.       We did provide in-line

3:30:29   3     counters, so at this point there's no way for us to follow along

3:30:33   4     in the transcript to make sure that our portions with being read

3:30:37   5     as well.   We did provide actual counters to their affirmative

3:30:39   6     designations within this Court's procedures and within the

3:30:41   7     deadline filed by the Court.

3:30:44   8                THE COURT:     It was not easy to do the deposition

3:30:47   9     designations, because apparently they do it differently where

3:30:55 10      you all come from.       It was very hard to follow.    But what she

3:31:00 11      has indicated is that this is -- well, it seems like you really

3:31:04 12      got to get together and you got to figure out what it is that's

3:31:09 13      a designation and opposition to something or supplementation to

3:31:15 14      something, and if they're not reading it, then explain what it

3:31:18 15      is.   Try to figure it out and let me know.       But I can't really

3:31:22 16      rule on it if you guys haven't decided what the issues are.

3:31:25 17                 MS. DeFORD:     I understand, Your Honor.    We can work

3:31:28 18      with opposing counsel after today.       If all they do is provide us

3:31:31 19      the lines of their affirmative testimony they've struck, we can

3:31:36 20      take our own chart that we provided to this Court and figure out

3:31:38 21      what counters go with it.

3:31:41 22                 THE COURT:     Okay.   Would it serve you any purpose to do

3:31:45 23      a little bit of it now so we can try to get more in before the

3:31:48 24      end of the day?    I doubt that you'll be able to get through

3:31:49 25      Jobe, but is there --


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3:31:51   1               MS. DeFORD:     With the Court's permission, I'm happy, if

3:31:54   2     counsel is okay, to go in the back while the jury is listening

3:31:57   3     to Mr. Mancuso and work with them on what they've cut to check

3:31:58   4     at this --

3:32:01   5               THE COURT:     That would be wonderful if you can do that.

3:32:03   6               MS. DeFORD:     Sure.   I'm happy to do that, Your Honor.

3:32:05   7               THE COURT:     Is everybody happy?    I want to make

3:32:06   8     everybody happy.

3:32:08   9               MS. DeFORD:     There is one other issue that I did want

3:32:10 10      to raise with the Court.      I think this is a pretty

3:32:15 11      noncontroversial one with her testimony which is on Page 148.

3:32:18 12      Line 10 of that is just a question by counsel to which there's

3:32:22 13      no answer, and we would just ask that the Court strike that.

3:32:24 14                THE COURT:     Page 148, Line 10?

3:32:27 15                MS. DeFORD:     Line 10.

3:32:31 16                THE COURT:     I'm sorry.    I'm on 149.   My vision is

3:32:41 17      failing me.   It is a question.       There's no answer to it.    Let's

3:32:44 18      see.   Let me see.

3:32:53 19                MR. KERNELL:     We're not going to read that.     There's no

3:32:53 20      answer.

3:32:55 21                THE COURT:     Yeah, there is no answer to Line 10.

3:32:56 22                MS. DeFORD:     Thank you, Judge.

3:32:57 23                THE COURT:     So it's excluded.

3:32:59 24                MS. DeFORD:     So Your Honor, with the Court's

3:33:01 25      permission, may one of my colleagues, in the event that anything


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3:33:05   1     occurs during Mr. Mancuso's reading of his deposition, I assume

3:33:09   2     nothing will, but may one of them take over my role in terms of

3:33:12   3     objecting since I'll be in the back working with counsel on Ms.

3:33:12   4     Jobe?

3:33:15   5               THE COURT:    Yep.    I don't care who objects, and you can

3:33:18   6     even swap back.

3:33:18   7               MS. DeFORD:     Thank you, Your Honor.

3:33:21   8               THE COURT:    And the same with them.       Okay.   So we can

3:33:24   9     get forward on some of them?

3:33:28 10                MR. RIOPELLE:     We can move forward on Mancuso.       The

3:33:30 11      only one we're waiting for is Calabrese.

3:33:32 12                THE COURT:    All right.       What's the plan on Calabrese?

3:33:34 13      Do I have Calabrese.

3:33:35 14                MR. RIOPELLE:     I have a copy if you would like, Your

3:33:35 15      Honor.

3:33:42 16                THE COURT:    I got copies.       I don't need anymore paper.

3:33:44 17                MR. SCHWARTZ:     Your Honor, on Calabrese we should just

3:33:46 18      give you the page and section because it's just the last of the

3:33:48 19      four items that we could not.

3:33:50 20                THE COURT:    Okay.    Yeah.     Let me get my copy.

3:33:51 21                MR. SCHWARTZ:     So let's --

3:33:53 22                THE COURT:    Let me get my copy here first.

3:33:53 23                MR. SCHWARTZ:     Okay.

3:33:56 24                THE COURT:    He's bringing it in from my office.

3:34:07 25                I can't run late today because I told you, I'm doing a


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3:34:09   1     pretrial conference Zoom at 5:00.

3:34:12   2               MR. RIOPELLE:    We could have your law clerk serve as

3:34:12   3     the judge.

3:34:14   4               THE COURT:    I'd rather have the court reporter do it.

3:34:16   5               MR. RIOPELLE:    No, no, no.    I've seen some of her

3:35:01   6     decisions.   I can't do that.

3:35:04   7               THE COURT:    All right.    I have Mr. Calabrese's.

3:35:10   8     Mancuso and Calabrese.     Talk about Calabrese.

3:35:16   9               MR. RIOPELLE:    I'm ready to go.     Are you --

3:35:21 10      Mr. Schwartz, you would like to talk about Calabrese?

3:35:22 11                THE COURT:    Ready.

3:35:25 12                MR. RIOPELLE:    If you want to go ahead, if you reached

3:35:27 13      any agreement on what we sent you.

3:35:28 14                MR. SCHWARTZ:    Well, it was just that the sections, the

3:35:36 15      one final section that they're concerned about that starts at

3:35:40 16      Page 260 Line 17.

3:35:43 17                THE COURT:    Hold on. 260, Line 17.

3:35:47 18                MR. SCHWARTZ:    Then it runs to 270, Line 6.       On pages

3:35:48 19      268.

3:35:59 20                THE COURT:    All right.    260, Line 17.   Okay.    And it

3:36:08 21      runs through 270 Line 6.     This is his calculation of damages.

3:36:10 22                MR. SCHWARTZ:    Right.    I don't see any issue with the

3:36:16 23      language on Page 260, then it rolls over to Page 261.         He's

3:36:20 24      asking about the calculation of damages.        He mentions how it's

3:36:25 25      going to be calculated, residual revenue, equipment sales.


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3:36:27   1               THE COURT:    Tell me, what is the objection to that?

3:36:29   2               MR. RIOPELLE:    It is speculative, it is inadmissible

3:36:35   3     under the Florida State Supreme Court's ruling in the W.W. Gay

3:36:39   4     Mechanical case.    That case requires it has to be a reasonable

3:36:44   5     yardstick and there's nothing concrete in here.         These are just

3:36:49   6     speculative numbers, damages.      And as the Court ruled in the

3:36:53   7     motion in limine, they can't be submitting anything damages

3:36:57   8     without proper support.

3:36:58   9               MR. SCHWARTZ:    The support was all provided in

3:37:02 10      discovery, Your Honor.

3:37:55 11                THE COURT:    Is this going to be videotaped or read?

3:38:46 12                MR. RIOPELLE:    Read.   266 certainly looks entirely like

3:38:53 13      speculation.    Based on the Chicago equipment stuff, does not

3:38:56 14      seem to be based on anything.

3:38:57 15                MR. SCHWARTZ:    The support was all provided in

3:39:02 16      underlying disclosures, Your Honor, with the detail.         It was in

3:39:05 17      our supplemental Rule 26 disclosures, and that was delivered to

3:39:10 18      the Plaintiff on January 31st.

3:39:13 19                THE COURT:    That may be the basis for damages, but this

3:39:19 20      isn't.   This is him saying what he thinks Chicago would have

3:39:22 21      done or could have done.     I can't tell you what they would have

3:39:25 22      done, but what I can tell you is they're skilled in the business

3:39:28 23      and they would never have agreed to this if they couldn't do it.

3:39:31 24      Well, that's total speculation, isn't it?

3:39:33 25                MR. SCHWARTZ:    266, Your Honor.     Which line, Your


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3:39:34   1     Honor?

3:39:39   2               THE COURT:    Right at the top.    Actually it's 265, last

3:39:47   3     line through 266, line -- well, that's the whole thing.          Line

3:39:54   4     12.   Line 13.   I mean, it's talking about what he's talking

3:39:56   5     about on 265.

3:39:58   6               MR. SCHWARTZ:    But he says right there that on Line 12

3:40:04   7     that they signed for it, meaning they signed an agreement to pay

3:40:10   8     for equipment and services.      And then he identified the

3:40:13   9     distributors and all that information was provided to the

3:40:22 10      Plaintiffs in the disclosures and all the details.         I'm happy

3:40:26 11      to, you know, show the Court a copy.

3:41:21 12                THE COURT:    I'm sorry, but it sure looks speculative to

3:41:27 13      me.   Keeps referring that the lawyers can give the information,

3:41:33 14      I've had -- felt the effect of it, but he doesn't really have

3:41:40 15      any solid reason, any solid basis for his -- if there is any

3:41:42 16      calculation I haven't seen it yet.       Where is it?

3:41:48 17                MR. SCHWARTZ:    It's Defendants' Exhibit 5074.       So if

3:41:50 18      you would like to see it on the screen, you can see it.

3:41:53 19                THE COURT:    Yeah, put it up.    Let me see.

3:41:55 20                MR. SCHWARTZ:    If you go to Page 7.

3:41:58 21                THE COURT:    Where is that mentioned in this?

3:42:02 22                MR. SCHWARTZ:    I'm sorry, Your Honor.       The question?

3:42:03 23                THE COURT:    Where is that mentioned in these pages that

3:42:05 24      we're talking about right now?

3:42:08 25                MR. SCHWARTZ:    Well, he's identifying the different


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3:42:11   1     distributors Nextel had, had signed agreements, then they asked

3:42:15   2     will you provide the back-up, he said yes and then it was

3:42:20   3     provided.    And all the details are on the disclosures.

3:42:29   4                 THE COURT:   Where is this document, what does it say?

3:42:31   5                 MR. RIOPELLE:   It's their supplemental initial

3:42:35   6     disclosures.     I'm not sure they can submit their supplemental

3:42:36   7     initial disclosures.

3:42:38   8                 THE COURT:   How is that admissible?

3:42:40   9                 MR. SCHWARTZ:   I'm not saying this particular document

3:42:43 10      is, Your Honor.     You asked where the underlying data was, it was

3:42:44 11      provided to the Plaintiffs.

3:42:46 12                  THE COURT:   All right.     Where is it that he says I'm

3:42:51 13      owed X dollars?     Because of the damage?      He talks about hundreds

3:42:56 14      of thousands of dollars, but that's looking at our balance

3:43:00 15      sheet, you know, it's in the hundreds of thousands, that's the

3:43:05 16      business we were able to do.      And I don't see anywhere in here

3:43:37 17      that he talks about any particular damage, does he?         The only

3:43:40 18      place I see is where he says:         So you believe you would have

3:43:45 19      made millions of dollars if Sprint had not sent its cease and

3:43:48 20      desist letter.     Oh, absolutely.      We had a lot of momentum and

3:43:51 21      this caused a huge, huge -- you know, I would just say

3:43:55 22      confidence crisis and other, however you want to, whatever your

3:43:58 23      intentions were, you definitely achieved them.

3:44:01 24                  That is absolutely clearly speculation.      That's not

3:44:07 25      based on anything that I can see.         It's just his gut feeling.   I


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3:44:23   1     don't think that's admissible.      Do you?   He's talking about

3:44:27   2     escalating just off the cuff.      That doesn't work.     You can't do

3:44:30   3     that.    If he were here, I wouldn't let him do it so how can I

3:44:34   4     let him do it on deposition?

3:44:36   5                MR. SCHWARTZ:   That goes to the heart of issue earlier

3:44:42   6     about the striking of our ability to call Mr. Rivera, who knows

3:44:46   7     the financial information and was prepared to discuss that

3:44:49   8     aspect of the case.

3:44:53   9                THE COURT:   You should have identified him so they

3:44:55 10      could take his deposition a couple weeks ago.        I don't know.

3:45:01 11      You didn't and I won't.     So you have a hole in your case at this

3:45:06 12      point.    I believe that the testimony that has been -- that I

3:45:14 13      have read so far is pure speculation and is not admissible.          So

3:45:20 14      leave out 265 to 270, is that what we're talking about? 260,

3:45:26 15      Line 17 through 270, Line 6 is not to be read.

3:45:35 16                 What else we got?

3:45:37 17                 MR. RIOPELLE:   Mr. Schwartz, have you reached a

3:45:39 18      conclusion on the other three categories?

3:45:41 19                 MR. SCHWARTZ:   Well, I haven't had a chance because we

3:45:43 20      were in the middle of the trial.      But the other issues that

3:45:47 21      they've raised, I have no issue with so we just -- we had to

3:45:48 22      just do the logistics.

3:45:51 23                 THE COURT:   You have to just cut it out.      Okay.   Then

3:45:54 24      do we have any disputed issues that we need to deal with before

3:45:58 25      I call the jury back?


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3:45:59   1               MR. RIOPELLE:     I just want to make sure.

3:46:01   2               THE COURT:    You guys figure it out.

3:46:02   3               MR. SCHWARTZ:     I mean I'm going --

3:46:27   4               (Counsel conferring)

3:46:29   5               MR. RIOPELLE:     I don't know what order they plan to

3:46:32   6     call.   I've asked them last night for their order of witness and

3:46:36   7     readings, and I have not received so I don't know.         I'm not the

3:46:39   8     right guy to ask.

3:47:05   9               THE COURT:    We're going to take a short break so our

3:47:07 10      court reporter go to the bathroom.

3:47:08 11                MR. RIOPELLE:     It's so she can shoot herself.

3:47:14 12                THE COURT:    Five minutes of we'll start again.       Tell me

3:47:16 13      what we've done by then.

3:49:14 14                MR. RIOPELLE:     Thank you, Your Honor.

3:49:16 15                (Brief recess).

3:54:33 16                THE COURT:    Are we ready to proceed?

3:54:35 17                MR. SCHWARTZ:     Two minutes, Your Honor.     We don't want

3:54:39 18      there to be any issues once you pull the jury back in.

3:54:40 19                THE COURT:    All right.

3:54:59 20                (In-place recess)

3:56:33 21                THE COURT:    Now are we ready?

3:56:35 22                MR. SCHWARTZ:     30 seconds, Your Honor.

3:58:56 23                THE COURT:    Okay.   Can we please start?

3:58:57 24                MR. SCHWARTZ:     Yes, Your Honor.

3:58:59 25                THE COURT:    Bring the jury in please.


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3:59:00   1               COURT SECURITY OFFICER:       All rise for the jury.

3:59:05   2               (Jury in at 3:59 p.m.)

4:00:04   3               THE COURT:     Be seated please.     Now we've reached the

4:00:06   4     stage where they're going to read some depositions.

4:00:10   5               You may proceed, sir.

4:00:21   6               MR. KERNELL:     Yes, Your Honor.     We're going to read the

4:00:33   7     deposition of Brian Mancuso.

4:00:37   8               THE COURT:     All right.    And again as I told you,

4:00:42   9     deposition testimony, deposition is a witness's sworn testimony

4:00:46 10      that is taken before the trial.       During a deposition the witness

4:00:49 11      is under oath, swears to tell the truth.         Lawyers for each party

4:00:53 12      may ask questions.     The deposition of this person was taken on

4:00:58 13      -- I don't even know whose it is, he'll tell you a date, has

4:01:03 14      been presented to you.     By reading.      When the deposition is

4:01:06 15      read, you must not place any significance of on the behavior or

4:01:10 16      tone of voice of any person reading the question or the answers.

4:01:13 17                You may proceed.       Do you have a date for when this was

4:01:14 18      taken?

4:01:15 19                MR. KERNELL:     Yes, Your Honor.     This was the deposition

4:01:21 20      of Brian Mancuso, on Wednesday, March 30, 2022.

4:01:24 21                THE COURT:     Okay.    You may proceed.

4:01:24 22                MR. RIOPELLE:     Your Honor?

4:01:29 23                THE COURT:     It's January 29, 2019?

4:01:31 24                MR. KERNELL:     Oh, I'm sorry.     What was this?

4:01:33 25                MR. RIOPELLE:     That's when you printed it.


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4:01:36   1                 MR. KERNELL:     I'm sorry.   January 29, 2019.

4:01:36   2                 THE COURT:     Okay.

4:01:36   3                 (Deposition of Brian Mancuso read into the record by

4:01:36   4     Mr. Kernell (Q) and Ms. Solomon (A))

4:01:47   5     Q.   Good afternoon, Mr. Mancuso.         Would you please state your

4:01:49   6     full name for the record?

4:01:51   7     A.   Brian Anthony Mancuso.

4:01:53   8                 THE COURT:     You got to get closer to the microphone and

4:01:55   9     speak louder.

4:02:00 10                  MS. SOLOMON:     Brian Anthony Mancuso.

4:02:03 11      Q.   What did you do after Baker University?

4:02:05 12      A.   As far as work?

4:02:05 13      Q.   Yes?

4:02:08 14      A.   I worked for MCI Communications.

4:02:10 15      Q.   Do you recall when?

4:02:12 16      A.   In the 90s, early 90s.

4:02:14 17      Q.   What did you do for MCI?

4:02:15 18      A.   Sales rep.

4:02:18 19      Q.   And what were the products that you were selling?

4:02:24 20      A.   Wireline products, so like long distance, data, internet.

4:02:26 21      Q.   Were you at a store MCI store?

4:02:29 22      A.   No, it was in the business office.

4:02:31 23      Q.   How long did you work for MCI?

4:02:33 24      A.   Couple years.

4:02:37 25      Q.   And after MCI, who did you work for.


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4:02:39   1     A.     Let's see, Icon Business Solutions.

4:02:40   2     Q.     Icon?

4:02:41   3     A.     Uh-huh.

4:02:44   4     Q.     What did you do for Icon?

4:02:44   5     A.     Sales.

4:02:47   6     Q.     Was that in a store or in --

4:02:49   7     A.     It was in a business office here in Kansas City.

4:02:51   8     Q.     And what sales did you do?

4:02:55   9     A.     Printer sales, selling big printers.

4:02:58 10      Q.     That was printers to businesses or --

4:03:00 11      A.     Yes.

4:03:02 12      Q.     After Icon, who did you work for?

4:03:05 13      A.     That would push me.   That would push me right up to whenever

4:03:09 14      I started for AT&T in 2003, I think.

4:03:11 15      Q.     What did you do for AT&T?

4:03:12 16      A.     I was a sales engineer.

4:03:14 17      Q.     And what does a sales engineer do?

4:03:18 18      A.     I went out on calls with the reps for technical solutions.

4:03:20 19      Q.     What type of technical solutions?

4:03:24 20      A.     Talking about our products for AT&T wireless so it would

4:03:27 21      have been Blackberry, e-mail at that time.

4:03:31 22      Q.     Were there certain products that you were part of the sales

4:03:31 23      for?

4:03:35 24      A.     It would be like Blackberries, phones or e-mail.

4:03:38 25      Q.     And after how long did you work for AT&T?


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4:03:42   1     A.   2003 to 2007.

4:03:45   2     Q.   What did you do, where did you work after AT&T?

4:03:48   3     A.   I went to HP.

4:03:49   4     Q.   What did you do for HP?

4:03:52   5     A.   I was in charge of technical solutions for the United

4:03:56   6     States.    So I was the technical overlaid position, so when

4:03:59   7     people needed questions, because we were putting solutions on

4:04:04   8     the iPAQs.

4:04:06   9     Q.   What type of business or product?

4:04:10 10      A.   They would usually be medical, government.

4:04:11 11      Q.   So you were in sales?

4:04:16 12      A.   No, it was more -- I was more of an overlay.        I was more of

4:04:19 13      a technical.    Like kind of a sales engineer overlay.

4:04:23 14      Q.   After HP, where did you go to work?

4:04:26 15      A.   I went back to HP and they decided they were getting out of

4:04:33 16      the handheld business and I left and went back to AT&T in 2008.

4:04:34 17      Q.   Into the same position?

4:04:36 18      A.   No.   It was government sales.

4:04:39 19      Q.   What did you do in government sales?

4:04:43 20      A.   Sold phones and air cards and hotspots to customers.

4:04:45 21      Q.   After AT&T where did you work?

4:04:48 22      A.   It was a cable company here, which is Spectrum now I think

4:04:53 23      it's called.    At the time it was Time Warner before, but at that

4:04:55 24      time it was Spectrum.

4:04:59 25      Q.   What was the time frame you worked at Spectrum?


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4:05:00   1     A.   Like 2009.

4:05:06   2     Q.   2009? You only worked one year there?

4:05:06   3     A.   Yes.

4:05:08   4     Q.   What did you do for Spectrum?

4:05:09   5     A.   Sales manager.

4:05:11   6     Q.   Did you have any employees working for you?

4:05:12   7     A.   Yes, I had eight.

4:05:13   8     Q.   You had eight?

4:05:13   9     A.   Uh-huh.

4:05:15 10      Q.   What were your duties as a sales manager?

4:05:19 11      A.   I helped them with -- we were selling internet and wireline

4:05:22 12      products like phone lines and stuff.       Go out and do calls, make

4:05:23 13      sure they made their quotas.

4:05:27 14      Q.   And after Spectrum Cable, where do you work?

4:05:29 15      A.   Then I started my own business.

4:05:31 16      Q.   What was that business that you started?

4:05:35 17      A.   It was called 4G Mobility.

4:05:36 18      Q.   4G Mobility?

4:05:37 19      A.   Uh-huh.

4:05:39 20      Q.   What was the purpose of this business?

4:05:42 21      A.   It was to sell wireless solutions.

4:05:43 22      Q.   To whom?

4:05:44 23      A.   Companies.

4:05:46 24      Q.   What type of wireless solutions?

4:05:49 25      A.   It was more about selling the phones and the product, you


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4:05:52   1     know, and the solutions that go with them, like because I knew a

4:05:56   2     lot of how to do solutions.      So if somebody had a problem, I

4:05:59   3     know how to kind of fix it wirelessly.

4:06:01   4     Q.   Was this more of a consulting business?

4:06:02   5     A.   Yes.

4:06:04   6     Q.   So you go into a business and you'd listen to their

4:06:08   7     problems, and then you suggest a solution to their problem and

4:06:10   8     help implement it?

4:06:12   9     A.   And/or carrier, yes.

4:06:15 10      Q.   Do you still have this business 4G Mobility?

4:06:16 11      A.   No.

4:06:19 12      Q.   How long was 4G Mobility in business?

4:06:22 13      A.   Until about 2011, I think, maybe.

4:06:23 14      Q.   Did you sell the company?

4:06:24 15      A.   No.

4:06:26 16      Q.   You just shut it down?

4:06:28 17      A.   I was working with the carriers and one of the carriers

4:06:34 18      wanted me to become -- to go to work for them.        So I had

4:06:36 19      children and needed insurance, so I went to work there.

4:06:38 20      Q.   And what carrier did you go work for?

4:06:41 21      A.   In 2009 I went to work for T-Mobile.

4:06:43 22      Q.   How long did you work for T-Mobile?

4:06:45 23      A.   Almost five years.

4:06:47 24      Q.   What was your position at T-Mobile?

4:06:49 25      A.   Government sales rep.


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4:06:52   1     Q.     Was it similar to what you did at AT&T?

4:06:52   2     A.     Yes.

4:06:56   3     Q.     And you've been working for Sprint since August of 2016; is

4:06:56   4     that correct?

4:06:59   5     A.     Yes, sir.

4:07:04   6     Q.     Now you also are a part-time LEO certified deputy sheriff;

4:07:06   7     is that correct?

4:07:07   8     A.     Correct.

4:07:10   9     Q.     And what does LEO stand for?

4:07:10 10      A.     Law enforcement officer.

4:07:13 11      Q.     Isn't that what deputy sheriffs mean?

4:07:16 12      A.     Well, no.   The typical deputies, majority of them are

4:07:20 13      jailers and do jail only.      So they don't have the same powers.

4:07:25 14      An LEO has been through the certification to go like on patrol,

4:07:27 15      make arrests and so on.

4:07:29 16      Q.     And you're currently a deputy sheriff?

4:07:30 17      A.     Yes.

4:07:32 18      Q.     Have you had any specialized training?

4:07:36 19      A.     I've had technology training in the companies I've worked

4:07:36 20      for.

4:07:38 21      Q.     Do you have any training in quality assurance?

4:07:39 22      A.     No.

4:07:41 23      Q.     Do you have any training in quality control?

4:07:42 24      A.     No.

4:07:45 25      Q.     Do you have any certification training?


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4:07:47   1     A.     Again in what?

4:07:50   2     Q.     For instance a UL mark, it's a certification for UL, do you

4:07:53   3     have any training in any certifications?

4:07:55   4     A.     No.

4:07:56   5     Q.     Do you have any training in standards?

4:07:58   6     A.     No.

4:08:03   7     Q.     Criminal, do you have any legal training in civil matters?

4:08:04   8     A.     No.

4:08:08   9     Q.     Have you had any formal transaction, education in trademark

4:08:08 10      law?

4:08:09 11      A.     No, sir.

4:08:12 12      Q.     Have you taken any training classes or education in

4:08:13 13      trademark law?

4:08:15 14      A.     No, sir.

4:08:18 15      Q.     Do you have any technical experience?

4:08:21 16      A.     Besides like working with partners and learning technology,

4:08:26 17      just 20 years of working with technology on-the-job training.

4:08:27 18      Q.     So it's on-the-job training?

4:08:28 19      A.     Yes, sir.

4:08:32 20      Q.     You haven't had any formal technical training?

4:08:32 21      A.     No, sir.

4:08:36 22      Q.     Let me hand you what's been marked as Exhibit 131.       Do you

4:08:38 23      recognize this exhibit?

4:08:38 24      A.     Yes, sir.

4:08:38 25      Q.     What is it?


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4:08:40   1     A.   It's the declaration.

4:08:41   2     Q.   This is your declaration?

4:08:43   3     A.   Yes, sir.

4:08:44   4     Q.   Did you prepare your declaration?

4:08:48   5     A.   You mean did I type all that up or --

4:08:49   6     Q.   Yes.

4:08:51   7     A.   I worked with our Sprint legal team.

4:08:55   8     Q.   Who in the legal team did you work with to prepare your

4:08:55   9     declaration?

4:08:59 10      A.   I don't remember the exact person.      It might have been Jobe.

4:09:00 11      I'm not sure.

4:09:01 12      Q.   Melissa Jobe?

4:09:02 13      A.   Yes.

4:09:04 14      Q.   Did you make any changes to the draft that you were

4:09:05 15      presented with?

4:09:06 16      A.   No.

4:09:09 17      Q.   Are all the statements made in your declaration your own

4:09:10 18      statements?

4:09:13 19      A.   You mean did I write all this?

4:09:15 20      Q.   Are these based on your own knowledge?

4:09:18 21      A.   I mean, I did not write all this material.       I worked with

4:09:22 22      legal and we added.     I mean, I gave them my statement and

4:09:23 23      information.

4:09:27 24      Q.   Were all statements that are included in your declaration

4:09:27 25      true?


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4:09:32   1     A.   I gave them -- yes, I gave them my details of what I saw.

4:09:35   2     Q.   Did you express any legal opinions in your declaration?

4:09:36   3     A.   Did I?

4:09:38   4     Q.   Yes.

4:09:43   5     A.   I don't think so.

4:09:49   6     Q.   Were all the statements in your declaration accurate and

4:09:54   7     absolutely true when you signed the declaration on April 12,

4:09:55   8     2018?

4:09:57   9     A.   Yes.

4:09:59 10      Q.   Are all the statements in your declaration accurate and

4:10:00 11      absolutely true today?

4:10:02 12      A.   Yes.

4:10:08 13      Q.   So how familiar are you with the Nextel brand?

4:10:09 14      A.   I know the name.

4:10:10 15      Q.   Anything else?

4:10:14 16      A.   I was familiar with them as a wireless provider, and we also

4:10:17 17      use it today in our history when speaking with customers in our

4:10:21 18      history and how we use it.

4:10:22 19      Q.   Have you ever used a Nextel product?

4:10:23 20      A.   Yes.

4:10:25 21      Q.   When was that?

4:10:27 22      A.   From late 2000.

4:10:30 23      Q.   From late -- from around 2000?

4:10:31 24      A.   Yes, correct.

4:10:36 25      Q.   And do you recall what was -- was it a phone?


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4:10:36   1     A.   Yes.

4:10:39   2     Q.   What phone was it do you recall?

4:10:44   3     A.   i580 or 60 I think the number was.      I don't remember it.

4:10:47   4     Q.   It was a Motorola i580?

4:10:50   5     A.   I think so.     I've seen a million phones in this business.

4:10:51   6     I'm sorry.

4:10:54   7     Q.   Are there any phones that you currently have that are

4:10:55   8     branded Nextel?

4:10:58   9     A.   The XP Strike I think it is.

4:11:00 10      Q.   It was -- it has Nextel on the phone itself?

4:11:03 11      A.   Not on the phone, but it's on the box.

4:11:05 12      Q.   And where is it on the box?

4:11:08 13      A.   I don't know exactly.     A lot of the phones, because people

4:11:11 14      started losing track of names, I think moved away from putting

4:11:16 15      names on phones or whatever and to work because you could move

4:11:17 16      them to different carriers.

4:11:22 17      Q.   When is the last time Sprint sold an XP Strike phone, and

4:11:25 18      that's a Sonim?

4:11:25 19      A.   I believe so.

4:11:29 20      Q.   Do you know when the last time Sprint sold an XP Strike?

4:11:32 21      A.   I don't have any -- I don't have any access to that.         I

4:11:36 22      wouldn't know.

4:11:38 23      Q.   What do you mean by famous mark?

4:11:45 24      A.   I'm not asking you for any legal conclusion because I

4:11:48 25      believe you earlier --


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4:11:49   1                 MS. SOLOMON:   Oh, I'm sorry.

4:11:52   2     Q.   I'm not asking you for any legal conclusion because I

4:11:55   3     believe you earlier testified that you have no legal opinions in

4:11:57   4     this document; is that accurate?

4:11:59   5     A.   Do I have any legal as a lawyer?

4:12:02   6     Q.   Yes, a legal opinion in this document.

4:12:04   7     A.   I have no legal opinion.

4:12:08   8     Q.   So what did you mean by famous Nextel mark?

4:12:12   9     A.   Well, the Nextel mark is very well known out in the world.

4:12:17 10      It's been like the Sprint Nextel racetrack, NASCAR and it was

4:12:20 11      well known.    And the chirp.

4:12:22 12      Q.   And the second sentence you state in particular, the famous

4:12:26 13      Nextel mark and Nextel brand became known for its innovative

4:12:31 14      two-way radio or push-to-talk wireless service in capable

4:12:36 15      devices often marketed as direct connect which permitted users

4:12:40 16      not just to use their devices as cellular phones, but also to

4:12:44 17      use them as walkie-talkies and connect to other Nextel users,

4:12:50 18      groups of users and even from coast to coast with just the push

4:12:51 19      of a button.    Do you see that?

4:12:52 20      A.   Yes.

4:12:53 21      Q.   Did I read that correctly?

4:12:54 22      A.   Uh-huh.

4:12:58 23      Q.   What's the difference between the mark and a brand?         Again,

4:13:02 24      I'm not asking you for a legal opinion, I believe you testified

4:13:05 25      that you gave no legal opinions in this document, correct?


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4:13:08   1     A.   Correct.

4:13:13   2     Q.   This history was provided to you by someone else?

4:13:14   3     A.   Yes.

4:13:18   4     Q.   You say in the last sentence of Paragraph 4, it says as a

4:13:23   5     result the Nextel brand was popular amongst businesses, field

4:13:26   6     workers, first responders for its fast responding push-to-talk

4:13:28   7     capability.     Do you see that?

4:13:29   8     A.   Yes.

4:13:33   9     Q.   How popular was the Nextel brand in 1993?

4:13:36 10      A.   I don't know.    I know they had a million of customers at one

4:13:37 11      point.

4:13:42 12      Q.   You don't know if it was the 1993 time frame?

4:13:43 13      A.   No, I don't, sir.

4:13:47 14      Q.   If we look at Paragraph 5, it starts in fact, the Nextel

4:13:50 15      brand push-to-talk direct connect products and services quickly

4:13:55 16      became the go-to, best-in-class method for communication in

4:13:59 17      first responder industry because of the innovative Nextel

4:14:06 18      push-to-talk features, and their reputation of reliability of

4:14:10 19      their products and services sold under or in connection with the

4:14:16 20      famous Nextel mark, satisfied that businesses peculiar need for

4:14:20 21      dependable instantaneous communication.       Do you see that?

4:14:21 22      A.   Yes, sir.

4:14:25 23      Q.   What's the basis for your statement that the Nextel brand

4:14:28 24      push-to-talk direct connect products and services quickly became

4:14:36 25      the go-to, best-in-class method for communication in the first


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4:14:37   1     responder industry?

4:14:40   2     A.   At the time Nextel was the only one that had the best, the

4:14:44   3     biggest network base direct connect out there.

4:14:45   4     Q.   What was the time frame?

4:14:49   5     A.   That would have been in the '90s.

4:14:54   6     Q.   Saying this, it's a fact you're stating that Nextel brand

4:14:57   7     push-to-talk and direct connect product and services quickly

4:15:01   8     became the go-to, best-in-class method for communications of

4:15:06   9     first responder industry.     Were you in the first responder

4:15:07 10      industry in the early; 90s?

4:15:12 11      A.   No, sir.     It was typical material that is in our PowerPoints

4:15:17 12      when we're talking about our Direct Connect product.

4:15:20 13      Q.   In Paragraph 6 you state it is my understanding from the

4:15:26 14      mid-1990s to 2013 Sprint, again, through or with its

4:15:31 15      predecessors in interest, built and operated a wireless network

4:15:35 16      in the United States offering wireless services and products to

4:15:42 17      customers in via a network Integrated Digital Enhanced Network,

4:15:48 18      it's iDEN, I-D-E-N protocol which allows the use of 800

4:15:53 19      megahertz specialized mobile radio SMR frequencies for customer

4:15:56 20      and business wireless services.      Do you see that?

4:15:57 21      A.   Yes.

4:16:02 22      Q.   What's the basis of our understanding of that statement?

4:16:06 23      A.   That is how the iDEN network operated on what Sprint Nextel

4:16:07 24      sold.

4:16:10 25      Q.   I'm sorry.     You said that that's the way that the product


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4:16:12   1     operated on the iDEN network?

4:16:15   2     A.     The Sprint iDEN network.

4:16:19   3     Q.     The first part you say Sprint built this network; is that

4:16:19   4     correct?

4:16:21   5     A.     Originally you mean?

4:16:22   6     Q.     Yes.

4:16:24   7     A.     No.

4:16:29   8     Q.     So are you saying originally Nextel built the network?

4:16:30   9     A.     The original network.

4:16:32 10      Q.     The iDEN network.

4:16:33 11      A.     Originally, I believe so.

4:16:35 12      Q.     Based on what?    What's your understanding?

4:16:39 13      A.     History.    Just seeing it on TV, knowing that they got bought

4:16:41 14      by Sprint Nextel.

4:16:43 15      Q.     Did you review any documents prior to making this statement?

4:16:44 16      A.     No.

4:16:49 17      Q.     I'm going to hand you what was previously marked as Exhibit

4:16:56 18      122.    Have you ever reviewed a form ten -- 5 10-K, I'm sorry.

4:16:59 19      Form 10-K SEC document filed by Sprint?

4:17:00 20      A.     No, sir.

4:17:04 21      Q.     Let me refer you to Page 6.    There's a small Page 6 at the

4:17:06 22      bottom.

4:17:07 23      A.     Right here?

4:17:10 24      Q.     Yes.    And this is under -- there's a heading iDEN network.

4:17:14 25      It's not Page 6 of 8, there's a small six at the bottom.          This


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4:17:16   1     is Page 8 of --

4:17:17   2     A.   Sorry.

4:17:20   3     Q.   Do you see where there's a heading iDEN network?

4:17:21   4     A.   Yes.

4:17:25   5     Q.   In the first sentence says we provide our Nextel branded

4:17:30   6     post-paid and Boost Mobile branded prepaid wireless services

4:17:35   7     over our iDEN network.     Our iDEN network is an all-digital

4:17:40   8     packet data network based on iDEN wireless technologies provided

4:17:43   9     by Motorola, Inc.     Do you see that?

4:17:43 10      A.   Yes.

4:17:47 11      Q.   So is your statement accurate that Sprint or its predecessor

4:17:51 12      in interest built this wireless network in the United States or

4:17:53 13      does it actually come from Motorola?

4:17:57 14      A.   I don't know.     I can't -- I have no knowledge.     I know

4:17:59 15      Sprint owned it.

4:18:05 16      Q.   If I can refer you to Page 26 of Exhibit 122?

4:18:06 17      A.   26?

4:18:14 18      Q.   Yes.     It's the first full paragraph.    The caption is if

4:18:16 19      Sprint is or Motorola is unable or unwilling to provide us with

4:18:21 20      equipment and handsets in support of our iDEN-based services as

4:18:25 21      well as handsets and infrastructure improvements to those

4:18:28 22      services, our operations will be adversely affected.         Do you see

4:18:28 23      that?

4:18:29 24      A.   Yes.

4:18:33 25      Q.   So if Sprint owned the network, why would they be absolutely


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4:18:34   1     dependent on Motorola?

4:18:36   2     A.   I don't know.

4:18:39   3     Q.   Now, the second sentence in Paragraph 6 of your declaration

4:18:44   4     states after the shutdown of Sprint's iDEN network in 2013,

4:18:50   5     Sprint migrated iDEN customers to its code division multiplex

4:18:54   6     access, CDMA, platform in 2014.      Do you see that?

4:18:54   7     A.   Yes, sir.

4:19:02   8     Q.   Did all the Nextel customers migrate to the Sprint CDMA

4:19:03   9     network?

4:19:04 10      A.   I don't know.

4:19:08 11      Q.   My question was did all the customers go from Nextel to

4:19:12 12      Sprint in 2013 when the iDEN network was shutdown?

4:19:13 13      A.   I don't know.

4:19:17 14      Q.   The last sentence in Paragraph 6 says building on the

4:19:21 15      goodwill embodied in the Nextel brand, Sprint continues to offer

4:19:27 16      direct connect push-to-talk services which remain popular with

4:19:28 17      first responders.    Do you see that?

4:19:29 18      A.   Yes.

4:19:30 19      Q.   What do you mean by goodwill?

4:19:33 20      A.   I don't know what that means.

4:19:36 21      Q.   And why did you put goodwill in your declaration?

4:19:41 22      A.   Being I think it's just reference to how our brand is.

4:19:45 23      Q.   Did you know that Sprint wrote-off the goodwill of Nextel in

4:19:47 24      February of 2008?

4:19:49 25      A.   I have no knowledge of that.


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4:19:52   1     Q.   Did you know that Sprint wrote-off approximately 30 billion

4:20:00   2     in goodwill associated with the Nextel mark in 2007 -- I'm

4:20:01   3     sorry, 2008?

4:20:02   4     A.   I don't know.

4:20:07   5     Q.   So when Sprint shut down the Nextel network on June 3, 2013,

4:20:12   6     what goodwill did it have remaining in the Nextel brand?

4:20:15   7     A.   Although we stopped using the technology, we didn't stop

4:20:17   8     using the brand.

4:20:21   9     Q.   But after it already written off all of the goodwill

4:20:24 10      associated with that brand, Sprint had in 2008, February of

4:20:30 11      2008, it shut down the Nextel network, what additional goodwill

4:20:30 12      is left?

4:20:35 13      A.   We have other Nextel equipment like the SP Strike, as well

4:20:38 14      as talking about what Nextel meant to our first responders and

4:20:43 15      stuff in our push-to-talk platform that we were working with.

4:20:45 16      Q.   Today can you buy a Nextel plan?

4:20:50 17      A.   I believe we have plans that could be built on our -- or are

4:20:54 18      being built by still on old plans.

4:20:59 19      Q.   If I'm a brand new customer today, can I walk into a Sprint

4:21:00 20      store and buy a Nextel plan?

4:21:01 21      A.   I don't think so.

4:21:04 22      Q.   Why did you attend the IWCE conference in 2017?

4:21:08 23      A.   I go to the law enforcement shows particularly.

4:21:11 24      Q.   Are the IWCE conferences law enforcement shows?

4:21:14 25      A.   They are usually emergency communications.


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4:21:18   1     Q.   Now, the IWCE, is it always in March?

4:21:20   2     A.   Typically, yes.

4:21:21   3     Q.   What time of year?

4:21:22   4     A.   Yes.

4:21:24   5     Q.   Oh, that time of year.     I'm sorry.

4:21:25   6     A.   Yes.

4:21:29   7     Q.   Are you planning to attend the IWCE conference in 2019?

4:21:33   8     A.   I'm working on it.    I placed a funding request but nothing

4:21:37   9     has been approved yet.

4:21:43 10      Q.   At the IACP conference in Orlando in 2018, did you have a

4:21:46 11      Nextel banner at the Sprint both?

4:21:46 12      A.   No.

4:21:51 13      Q.   At the IACP conference in 2017 in Philadelphia, did you have

4:21:53 14      a Nextel banner at the Sprint booth?

4:21:53 15      A.   No.

4:21:57 16      Q.   Now, the 2017 IWCE conference, who else attended from

4:21:58 17      Sprint?

4:21:59 18      A.   In 2017?

4:22:00 19      Q.   Yes.

4:22:02 20      A.   Which one, which conference?

4:22:05 21      Q.   The 2017 IWCE.

4:22:08 22      A.   I believe Scott Wiley was there, maybe.       He's either at the

4:22:13 23      IACP or the IWCE.

4:22:17 24      Q.   Did Sprint have a booth at the 2017 IWCE conference?

4:22:17 25      A.   Yes.


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4:22:22   1     Q.   Did Sprint have a Nextel booth at the 2017 IWCE conference?

4:22:22   2     A.   No.

4:22:23   3     Q.   Your answer was no.

4:22:25   4     A.   No.

4:22:30   5     Q.   Did the Sprint booth at the 2017 IWCE conference have a

4:22:31   6     Nextel banner?

4:22:32   7     A.   No.

4:22:37   8     Q.   Did the Sprint booth at the 2017 IWCE conference have any

4:22:38   9     Nextel signs?

4:22:40 10      A.   No.

4:22:48 11      Q.   What is your role when you attend the IWCE conference in

4:22:49 12      2017.

4:22:53 13      A.   Answer customers' questions about our products, and if we

4:22:56 14      had things demonstrated like our push-to-talk solution for LMR,

4:23:01 15      that's for Land Mobile Radio, and talk to them about the Sprint

4:23:02 16      network.

4:23:02 17      Q.   Anything else?

4:23:04 18      A.   No.

4:23:07 19      Q.   Did Sprint have a booth at the 2018 IWCE conference?

4:23:08 20      A.   Yes.

4:23:13 21      Q.   Did Sprint have a Nextel booth at the 2018 IWCE conference?

4:23:14 22      A.   No.

4:23:19 23      Q.   Did the Sprint booth have -- at the 2018 IWCE conference,

4:23:21 24      have a Nextel banner?

4:23:21 25      A.   No.


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4:23:25   1     Q.     Did the Sprint booth at the 2018 IWCE conference have any

4:23:26   2     Nextel signs?

4:23:31   3     A.     Not that I was aware of.

4:23:41   4     Q.     At the 2017 IWCE conference, at some point you were browsing

4:23:45   5     through vendors' tables and came across a Nextel booth.          Is that

4:23:45   6     correct?

4:23:47   7     A.     Correct.

4:23:51   8     Q.     And if I can have you take a look at Exhibit 126, do you

4:23:56   9     recognize the document or that picture of the first page?

4:23:57 10      A.     Yes.

4:24:00 11      Q.     And did you take that picture, is that one of the pictures

4:24:00 12      you took?

4:24:01 13      A.     Yes.

4:24:03 14      Q.     Can you tell me what that picture is of?

4:24:08 15      A.     It's a booth displaying phones or radios.

4:24:10 16      Q.     Is it displaying anything else?

4:24:12 17      A.     There's a Nextel banner and there's another banner behind

4:24:14 18      it.

4:24:17 19      Q.     You said that you noticed an individual with a name tag,

4:24:19 20      Stephen Calabrese.      Do you recall that?

4:24:20 21      A.     Yes.

4:24:22 22      Q.     Did you talk to Mr. Calabrese?

4:24:26 23      A.     I believe that's who -- I'm not sure.     I think that's who it

4:24:27 24      was.

4:24:33 25      Q.     Is that the name you recall or you're not sure if it's that


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4:24:33   1     --

4:24:36   2     A.   They either told me that's who owned it or that's the name

4:24:38   3     that was on there.

4:24:40   4     Q.   On there?   What do you mean by on there?

4:24:43   5     A.   On the name tag.

4:24:50   6     Q.   I hand you Exhibit 134.     Do you recognize these handsets

4:24:53   7     shown in Exhibit 134.

4:24:55   8     A.   Any of them or all of them or what do you mean?

4:24:58   9     Q.   Some.   In general, do you recognize any of them?

4:25:02 10      A.   They look like they were the ones that were being splayed.

4:25:11 11      Q.   Mr. Mancuso, before we took a break, we were talking about

4:25:15 12      Paragraph 9 of your declaration.      And we just talked about

4:25:19 13      nongenuine products, and next you referred to them as

4:25:23 14      counterfeit products using the Nextel mark.        What do you mean by

4:25:23 15      counterfeit?

4:25:27 16      A.   They aren't the devices that we are selling today.

4:25:30 17      Q.   Is Sprint selling an i300?

4:25:31 18      A.   No.

4:25:36 19      Q.   If you look at the Exhibit 134, is Sprint selling an i300?

4:25:36 20      A.   No, sir.

4:25:40 21      Q.   Is Sprint selling an i300 handset radio that looks anything

4:25:44 22      like the i300 shown in Exhibit 134?

4:25:44 23      A.   No, sir.

4:25:48 24      Q.   Is Sprint selling and i400 handheld radio?

4:25:49 25      A.   No, sir.


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4:25:52   1     Q.   Is Sprint selling a handset radio that looks like the i400

4:25:53   2     radio?

4:25:55   3     A.   No, sir.

4:25:59   4     Q.   I'm not asking you a legal opinion, I'm asking you to look

4:26:03   5     at the i400.    Does Sprint sell a device that looks like the i400

4:26:05   6     handheld radio?

4:26:06   7     A.   No, sir.

4:26:09   8     Q.   Does Sprint sell an i500 handset radio?

4:26:10   9     A.   No, sir.

4:26:15 10      Q.   Does Sprint sell an i500 or a radio that looks like the i500

4:26:16 11      handheld radio?

4:26:18 12      A.   That looks like how?

4:26:22 13      Q.   Is it the same setup as the i500 handheld radio?

4:26:23 14      A.   Probably no.

4:26:26 15      Q.   Does Sprint sell a rugged smartphone?

4:26:32 16      A.   Yes.    Sonim XP 8.

4:26:34 17      Q.   Does that use the Direct Connect app?

4:26:37 18      A.   It utilizes the Sprint Kodiak push-to-talk platform which

4:26:39 19      allows it to do push-to-talk.

4:26:44 20      Q.   Is the Sonim XP 8 branded as a Sprint device?

4:26:45 21      A.   Branded how?

4:26:49 22      Q.   Does it have a Sprint -- does it have Sprint on the device

4:26:49 23      itself?

4:26:50 24      A.   No.

4:26:53 25      Q.   It only has Sonim on the device, doesn't it?


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4:26:55   1     A.   Yes.

4:27:05   2     Q.   Do you know, does Sprint sell a mobile radio like the M300

4:27:07   3     mobile radio from Nextel?

4:27:08   4     A.   No.

4:27:11   5     Q.   So what is your definition of counterfeit?

4:27:14   6     A.   It would be things that are not ours, not Sprint.        Again, I

4:27:18   7     saw the yellow Nextel which I knew was Sprint's, my company and

4:27:22   8     in our booth we had Sprint push-to-talk people there, you know.

4:27:26   9     And we even had a PowerPoint going and it had Nextel going in

4:27:29 10      the background.    None of that looks like stuff that we had.

4:27:33 11      Q.   When you say it was the Nextel mark that was Sprint's, were

4:27:39 12      you referring to the sign at the Nextel booth at the IWCE at the

4:27:39 13      2017 conference?

4:27:41 14      A.   Say that again.

4:27:45 15      Q.   When you said that the Nextel booth -- said at the Nextel

4:27:49 16      booth they had the Nextel mark that was Sprint's, are you

4:27:53 17      referring to the banner that was in the Nextel booth at the IWCE

4:27:54 18      2017 conference?

4:27:57 19      A.   Yes.    I didn't sit there and go through all their equipment

4:27:58 20      with them.

4:28:02 21      Q.   Did you see -- you saw some equipment that also had the

4:28:08 22      Nextel mark on it at the Nextel booth at the IWCE 2017.

4:28:09 23      Correct?

4:28:11 24      A.   At the '17?

4:28:12 25      Q.   Yes.


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4:28:14   1    A.   I saw devices on their table.

4:28:17   2    Q.   Did they have the yellow and black Nextel mark on their

4:28:17   3    devices?

4:28:20   4    A.   I didn't look that closely to be honest.

4:28:24   5    Q.   Did you see any devices at the 2018 IWCE reference that had

4:28:28   6    the Nextel black and yellow and black logo on it?

4:28:32   7    A.   The boxes, from what I say, were marked -- looked like our

4:28:36   8    boxes by the color, the yellow and black color and said Nextel.

4:28:39   9    Q.   When you say they looked like our color, the boxes that you

4:28:44 10     had, did you have any particular -- any yellow and black boxes

4:28:49 11     at the Sprint booth at the IWCE 2018 conference?

4:28:52 12     A.   I've seen those yellow and black before at Sprint's, and

4:28:56 13     it's the same as our banner colors and that's how I knew that.

4:28:59 14     Q.   Did you have any yellow and black boxes at the Sprint booth

4:29:01 15     at the IWCE 2018 conference?

4:29:03 16     A.   No.

4:29:09 17     Q.   Are you aware that that trademark was cancelled in 2014 by

4:29:10 18     Sprint?

4:29:11 19     A.   No.

4:29:15 20     Q.   So was Sprint using the mark, the Nextel mark shown in

4:29:19 21     Exhibit 130 at the 2017 IWCE conference?

4:29:23 22     A.   It was being displayed on the PowerPoint that was going on

4:29:28 23     one of our screens we had in our booth next to -- we had an ERT

4:29:30 24     truck there.

4:29:31 25     Q.   That's IWCE, right?


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4:29:33   1    A.   Yes.    It's the IWCE.

4:29:37   2    Q.   So it was only on the PowerPoint, it was not on a banner?

4:29:40   3    A.   Just on the PowerPoint that I remember.       But we also

4:29:42   4    verbally told people about it when they would come up and talk

4:29:44   5    to us.

4:29:46   6    Q.   And what do you mean by Nextel branding?

4:29:50   7    A.   So the yellow and black with the banner is the Nextel, is

4:29:54   8    the known brand in the industry and by the people.         That's the

4:29:56   9    first responder showed it was there, so it was a known thing.

4:30:00 10     We -- typically when we go out and talk to government accounts,

4:30:04 11     most accounts used to be with Sprint Nextel at some point, and

4:30:07 12     so we would bring that up in reference to our history that we've

4:30:09 13     done business with them before.

4:30:15 14     Q.   Did you talk to anybody at the Nextel booth in the 2017 IWCE

4:30:16 15     conference?

4:30:17 16     A.   Yes.

4:30:18 17     Q.   Who did you talk to?

4:30:21 18     A.   I think I put down what Stephen's name was, but I wasn't

4:30:25 19     quite sure.    I didn't think that's what it was.

4:30:26 20     Q.   What did you guys talk about?

4:30:30 21     A.   First I asked him if they were a Sprint agent because we

4:30:33 22     have agents all over, and maybe they grabbed an old banner.          And

4:30:36 23     then they told me no, that they were Nextel, that Sprint had

4:30:39 24     dropped -- because he saw my name tag and that we had abandoned

4:30:43 25     the mark, name and all that.      And I was like I don't think so


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4:30:46   1    because we're still using -- we actually have it over in our

4:30:50   2    booth.   And then he had like a piece of paper that he pulled out

4:30:53   3    and showed, and I was like that's above my pay grade, and I

4:30:56   4    basically walked away and reported it.

4:30:59   5    Q.   After the 2017 IWCE conference, what did you do?

4:31:04   6    A.   I forwarded an e-mail to my bosses stating what I had saw,

4:31:07   7    somebody was using the Nextel name and what they were doing,

4:31:09   8    sent them pictures.

4:31:16   9    Q.   I've handed you what is marked as Exhibit 135.        Is this the

4:31:19 10     e-mail that you were just referring to?

4:31:20 11     A.   Yes.

4:31:25 12     Q.   And in this e-mail it states at IWCE, I observed a booth

4:31:30 13     using and flying the Nextel name and banner, and it appears to

4:31:33 14     be in direct competition as a PTT company.        People were confused

4:31:38 15     about it, asking us what did you mean by that.

4:31:43 16     A.   People came to our booth asking about what was the deal.

4:31:45 17     Q.   About how many people came to your booth?

4:31:47 18     A.   At '17?

4:31:48 19     Q.   Yes.

4:31:48 20     A.   A few.

4:31:50 21     Q.   How many is a few, five?

4:31:52 22     A.   Less than ten.

4:31:53 23     Q.   And what did they say?

4:31:55 24     A.   They were just asking -- they were confused and saying do

4:32:00 25     you guys have two booths here?      Some people were saying like are


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4:32:03   1    you guys starting -- are you doing something different with

4:32:06   2    Nextel?     They were just asking what's the deal.      They were just

4:32:10   3    confused because they saw --they knew it was Sprint Nextel, they

4:32:12   4    didn't understand why we were separated.

4:32:15   5    Q.   Did you get anybody's name?

4:32:16   6    A.   No.

4:32:19   7    Q.   Did anybody mention to you that they thought the brand was

4:32:19   8    dead?

4:32:20   9    A.   No.

4:32:23 10     Q.   Did you tell anyone anybody that you were not affiliated

4:32:25 11     with the other Nextel booth?

4:32:28 12     A.   I said that we're not sure what those guys are doing and we

4:32:30 13     reported it.

4:32:36 14     Q.   After the 2018 IWCE conference, did you make any reports to

4:32:36 15     your boss?

4:32:38 16     A.   In what year?

4:32:39 17     Q.   2018.

4:32:40 18     A.   Yes, I did.

4:32:42 19     Q.   What was your report in 2018?

4:32:45 20     A.   That they were there again.

4:32:49 21     Q.   In 2018 did you visit the Nextel booth at the IWCE

4:32:49 22     conference?

4:32:51 23     A.   When?

4:32:54 24     Q.   In the 2018 IWCE conference.

4:32:58 25     A.   Yes.    I walked up there with an individual before.


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4:33:00   1    Q.   Who did you go over there with?

4:33:04   2    A.   One of our partners was there, Colombia Tech, Tobias

4:33:05   3    England.

4:33:11   4    Q.   Did you talk to anybody at that time Nextel booth at the

4:33:12   5    2018 IWCE conference?

4:33:15   6    A.   Tobias walked up first and started inquiring.

4:33:17   7    Q.   And then did you talk to anyone?

4:33:21   8    A.   I walked up to get Tobias as to leave, and then they were

4:33:24   9    talking about that and they were referencing that they had, they

4:33:28 10     were telling Tobias about they had a letter that was on an iPad

4:33:34 11     or a tablet, I believe.     No, it was displayed, the article from

4:33:37 12     the journal I think it was, and they were saying that they had

4:33:39 13     this letter, and I asked them a question about what networks it

4:33:43 14     worked on, and they told me.

4:33:48 15     Q.   Did you independently verify whether or not the NW devices

4:33:51 16     could work on any of the named networks?

4:33:53 17     A.   I did not verify any of them.

4:34:00 18     Q.   Now on Paragraph 10 you said -- you state that at the IWCE

4:34:06 19     2018, I observed that the NW entity was also informing customers

4:34:10 20     or consumers, that the counterfeit Nextel products could be

4:34:15 21     acquired and used in connection with T-Mobile wireless network,

4:34:21 22     or if they preferred otherwise, it could be used with Verizon or

4:34:22 23     T-Mobile's network.     Do you see that?

4:34:23 24     A.   Yes.

4:34:24 25     Q.   How did you observe that?


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4:34:25   1    A.   I asked the person.

4:34:27   2    Q.   The person at the NW booth?

4:34:28   3    A.   Yes.

4:34:36   4    Q.   And the person at that time NW booth told you that they were

4:34:37   5    selling counterfeit Nextel products?

4:34:40   6    A.   That was not said.

4:34:45   7    Q.   So I believe earlier you said that you didn't use any of the

4:34:47   8    Nextel devices, correct?

4:34:52   9    A.   That I didn't use them?     I had looked at them in 2018.

4:34:55 10     Q.   But you didn't operate any of the Nextel devices.

4:34:57 11     A.   That's correct.

4:34:59 12     Q.   In the next sentence you state it is my understanding,

4:35:05 13     however, that although marked and made to appear as devices with

4:35:12 14     genuine instantaneous two-way radio communication technology,

4:35:13 15     the counterfeit Nextel products being offered are simply

4:35:16 16     smartphones hidden inside cases made to look like genuine

4:35:20 17     instantaneous two-way radio devices.       Do you see that?

4:35:20 18     A.   Yes.

4:35:22 19     Q.   What's the basis for that sentence?

4:35:25 20     A.   When the person told me that they operated on all three

4:35:28 21     carriers' networks, it was my assumption, because of the

4:35:32 22     different technologies, that they were doing it based on -- and

4:35:34 23     I believe the person there was talking about it had Android or

4:35:38 24     whatever on it they were displaying.       Again, I didn't get into a

4:35:42 25     big technical discussion with them about it, but that that was


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4:35:46   1    my -- is my understanding of how communications work when you

4:35:50   2    have different carriers because we got -- we don't all share the

4:35:50   3    same platforms.

4:35:54   4    Q.   All right.   But they're not using the Sprint platform

4:35:58   5    whatsoever in their devices, NW isn't, is it?

4:35:59   6    A.   Correct.

4:36:03   7    Q.   So what made you state that these are simply smartphones

4:36:08   8    hidden inside cases to look like genuine instantaneous two-way

4:36:08   9    radios?

4:36:12 10     A.   Again, from what I saw and the person had an Android, one

4:36:15 11     that they were showing, that is what my assumption was.

4:36:16 12     Q.   So you just assumed this.

4:36:17 13     A.   Yes.

4:36:22 14     Q.   So if I look at the i300 handheld radio in Exhibit 134, are

4:36:27 15     you saying the i300 there is a smartphone hidden in that case?

4:36:29 16     A.   Well, because they told me that it operated for all three

4:36:34 17     carriers told me, there's a smartphone or basically what I call

4:36:37 18     a smartphone, there's something smart in it that operates it

4:36:39 19     across those carriers.

4:36:43 20     Q.   So if I opened up the I300 case, I would it's your

4:36:47 21     assumption that I would find a smartphone inside there?

4:36:50 22     A.   Well, a smartphone is nothing more than a board with a modem

4:36:54 23     on it that communicates to the network.

4:36:57 24     Q.   Did you do anything to verify this statement?

4:36:58 25     A.   No.


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4:37:03   1    Q.   Did you ask anybody at the Nextel or NW booth whether their

4:37:06   2    devices were simply smartphones hidden inside these cases?

4:37:08   3    A.   I did not ask that.

4:37:12   4    Q.   Did you ask anyone at the NW booth who manufactures their

4:37:13   5    devices?

4:37:14   6    A.   I did not.

4:37:19   7    Q.   Did you ask anyone at the NW booth if their devices use an

4:37:21   8    application that enables the user to communicate using a

4:37:23   9    walkie-talkie feature?

4:37:25 10     A.   I did not.

4:37:28 11     Q.   Have you tested any NW device?

4:37:30 12     A.   No.

4:37:35 13     Q.   Have you evaluated the reliability of any NW device?

4:37:36 14     A.   No.

4:37:39 15     Q.   Have you evaluated the range of an NW device?

4:37:41 16     A.   No.

4:37:45 17     Q.   In Paragraph 13 of your declaration, this is about halfway

4:37:51 18     down and this is at the IWCE 2017 conference where you asked

4:37:56 19     Tobias England, a com tech?

4:37:57 20     A.   Columbia.

4:38:01 21     Q.   Columbia Tech to approach NW entities' booth and ask about

4:38:03 22     its use of the Nextel brand, do you see that?

4:38:04 23     A.   Yes.

4:38:07 24     Q.   And then you state the NW entity falsely informed England

4:38:12 25     that Sprint no longer owned the Nextel brand.        What do you mean


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4:38:13   1    by that?

4:38:16   2    A.   That they were telling us that we walked away from the name,

4:38:17   3    that we abandoned it.

4:38:20   4    Q.   And in fact, that's what the lawsuit is about, isn't it?

4:38:22   5    The abandonment of the Nextel mark?

4:38:24   6    A.   It's about what again?

4:38:28   7    Q.   The claim that Nextel was abandoned, that Nextel has

4:38:33   8    abandoned the mark.     That Sprint has abandoned the Nextel mark.

4:38:36   9    A.   The company hadn't abandoned it, we use it.

4:38:39 10     Q.   That is your opinion though, isn't it?       There hasn't been a

4:38:41 11     legal determination as to whether Sprint has or has not

4:38:44 12     abandoned the Nextel mark, has it?

4:38:47 13     A.   We use it day-to-day in the field and to customers talking

4:38:50 14     about what we're doing, and not to say that we can't use it

4:38:54 15     again, but there's nothing been -- we've never been told by the

4:38:56 16     company that we're not to use it anymore.

4:39:02 17     Q.   So this saying NW falsely informed England that Sprint no

4:39:05 18     longer owns the Nextel mark, that's your opinion, correct?

4:39:08 19     A.   That's my basis of knowledge, yes.

4:39:13 20     Q.   So when you approached the NW booth at IWCE 2017, were you

4:39:16 21     told exactly the same thing by the individual at the NW booth

4:39:17 22     correct?

4:39:18 23     A.   Yes.

4:39:22 24     Q.   So they were consistent in their story that they believed

4:39:25 25     that Sprint had abandoned the Nextel mark, correct?


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4:39:27   1    A.   Yes, they were saying the same story, yes.

4:39:32   2    Q.   And they weren't hiding it from you wearing a Sprint shirt.

4:39:32   3    A.   Correct.

4:39:37   4    Q.   That's the exact same thing in 2018 at the IWCE in Paragraph

4:39:45   5    14 at the IWCE 2018.     You again observed the NW entity informing

4:39:48   6    customers that NW entity owns the Nextel brand and that Sprint

4:39:50   7    had abandoned it, correct?

4:39:51   8    A.   I'm sorry.     Say it again?

4:39:59   9    Q.   You again observed at the IWCE 2018 that the NW entity was

4:40:03 10     informing customers that it believed that Sprint had abandoned

4:40:06 11     the Nextel mark and that it had a legal right to use the mark,

4:40:07 12     correct?

4:40:07 13     A.   Correct.

4:40:09 14     Q.   And it didn't try to hide that from you?

4:40:13 15     A.   Correct.     It was displaying with their news stories and

4:40:13 16     stuff.

4:40:16 17     Q.   It was open and obvious, and they were claiming ownership of

4:40:18 18     the Nextel mark, correct?

4:40:20 19     A.   Yes.

4:40:28 20     Q.   In Paragraph 16 you state that during the IWCE 2017 show,

4:40:34 21     approximately six to ten attendees came to me to discuss the NW

4:40:39 22     entities' booth and the counterfeit and Nextel products,

4:40:43 23     material and services being offered by the NW entity.         Do you

4:40:44 24     see that?

4:40:45 25     A.   Yes.


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4:40:51   1    Q.   You then go on to say they stated or suggested that their

4:40:54   2    belief that Sprint was providing authorized or affiliated with

4:41:01   3    the NW entities' offering of Sprint of Nextel branded products,

4:41:03   4    materials or services.     Do you see that?

4:41:04   5    A.   Yes.

4:41:11   6    Q.   How are these six to ten entities -- now, are these six to

4:41:14   7    ten entities, are they the same distributors, were these

4:41:18   8    different individuals than the distributors?        I think you said

4:41:23   9    six to eight distributors or dealers that you talked to about

4:41:24 10     previously?

4:41:27 11     A.   It would probably have been made up of both people

4:41:31 12     mentioning it and/or people like law enforcement or some or

4:41:34 13     distributors.    So it would not -- it wasn't like six in one

4:41:37 14     group and another six in another group.        That was my total.

4:41:43 15     Q.   How do these six to ten attendees suggest that they believe

4:41:47 16     the NW entity-branded products or services were affiliated with

4:41:50 17     Sprint at the 2017 IWCE conference?

4:41:53 18     A.   They were confused by the name, the banner and the name and

4:41:54 19     knew that was us.

4:42:02 20     Q.   And you look -- you took a picture of the very -- of the

4:42:16 21     very letter -- and you took a picture of the very letter they

4:42:17 22     were showing, correct?

4:42:19 23     A.   Yes.

4:42:20 24     Q.   And did you read that letter?

4:42:22 25     A.   Yeah.


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4:42:24   1    Q.   Did you get the names of these individuals that approached

4:42:27   2    you at the 2017 IWCE conference?

4:42:30   3    A.   At what year?

4:42:31   4    Q.   2017.

4:42:32   5    A.   No.

4:42:37   6    Q.   Did you tell me these six to ten attendees that came to the

4:42:43   7    Sprint booth at the 2017 IWCE conference, that NW was not

4:42:44   8    affiliated with Sprint?

4:42:46   9    A.   Which year?

4:42:46 10     Q.   2017?

4:42:50 11     A.   They were not affiliated with Sprint.

4:42:50 12     Q.   Yes.

4:42:51 13     A.   Correct.

4:42:54 14     Q.   And that Sprint was not affiliated with the NW entity.

4:42:56 15     A.   Correct.    First of all, I thought it was just a big

4:43:00 16     confusion.    They just assumed, and it was just a big mistake.

4:43:06 17     Q.   Now, in Paragraph 17 you state that similarly during the

4:43:10 18     IWCE 2018 show, at least two attendees approached me expressing

4:43:14 19     confusion regarding the relationship between Sprint on the one

4:43:19 20     hand, and the NW entities' booth in the counterfeit and Nextel

4:43:22 21     products, materials and services offered by Defendants on the

4:43:23 22     other hand.     Do you see that?

4:43:25 23     A.   Yes.

4:43:31 24     Q.   So there were only two attendees that approached you at the

4:43:31 25     2018 Sprint booth?


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4:43:34   1    A.   I just remember the person said well, do I deal with you

4:43:39   2    guys or do I deal with those guys.       That's what I kind of meant

4:43:42   3    by on one hand or the other, that's what they were doing.            Do I

4:43:44   4    deal with you guys or those guys.

4:43:48   5    Q.   Did you get the names of these two confused attendees at

4:43:50   6    that time 2018 IWCE conference?

4:43:54   7    A.   Again, I think only one of them had cards, and I thought I

4:43:57   8    then transmitted that I thought to somebody in legal, and said

4:43:59   9    hey, these people are confused.

4:44:03 10     Q.   Now, in Paragraph 18 you state that Defendants' counterfeit

4:44:08 11     Nextel products and services appear to be of inferior quality to

4:44:12 12     the genuine Nextel products and services offered by Sprint based

4:44:16 13     upon my observations of the counterfeit Nextel products, my

4:44:19 14     experience working at Sprint and my experience using two-way

4:44:23 15     radios for communications as a first responder.         Do you see

4:44:23 16     that?

4:44:24 17     A.   Yes.

4:44:28 18     Q.   How did their products appear to be of inferior quality?

4:44:31 19     A.   They didn't -- they didn't look and feel like some of the

4:44:33 20     devices that we have.

4:44:36 21     Q.   So just the look and feel test?

4:44:37 22     A.   Yes.

4:44:42 23     Q.   That's the basis of -- how many of these products did you --

4:44:45 24     that's the basis of -- how many of these products did you

4:44:47 25     actually handle?


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4:44:47   1    A.   What year?

4:44:49   2    Q.   This is in 2017?

4:44:53   3    A.   '17, maybe one and then '18, maybe one or two.        I think I

4:44:58   4    just picked them up and looked at it and put it back down.

4:44:59   5    Q.   Did you operate any of the devices?

4:45:00   6    A.   No.

4:45:04   7    Q.   Then how can you state that the Nextel services appear to be

4:45:06   8    of inferior quality?

4:45:09   9    A.   Again, it was just from my observation.       My own personal

4:45:12 10     response of what I saw and used.       They weren't our equipment,

4:45:13 11     that's what I meant by that.

4:45:17 12     Q.   But that's not what you said.      You just didn't say hey,

4:45:22 13     these are different equipment.      You said absolutely, no idea

4:45:28 14     sitting here today how the Nextel, how those Nextel products

4:45:34 15     that you saw in 2018 or 2019 IWCE conference operate, do you?

4:45:37 16     A.   I don't know who manufactured them; no, I don't.        So I don't

4:45:39 17     know anything about it.

4:45:40 18     Q.   You don't know anything about the operations of these

4:45:42 19     devices, do you?

4:45:44 20     A.   No.

4:45:48 21     Q.   Exactly.     You don't know because you didn't turn on one of

4:45:52 22     these devices, did you, to check out the services that's offered

4:45:54 23     by Nextel, did you?

4:45:57 24     A.   No, because it wasn't on Sprint service so there's no need

4:45:58 25     for me to use it.


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4:46:00   1    Q.   Did you purchase any of the Nextel products?

4:46:03   2    A.   You talking about the --

4:46:05   3    Q.   NW products.

4:46:05   4    A.   No.

4:46:11   5    Q.   Did you do any testing to assess the durability of any NW

4:46:11   6    device?

4:46:12   7    A.   No.

4:46:15   8    Q.   Did you do any testing or certifications on the NW devices?

4:46:16   9    A.   No.

4:46:20 10     Q.   Do you know what testing or certifications NW devices go

4:46:21 11     through?

4:46:21 12     A.   No.

4:46:25 13     Q.   Did you ask anybody at the NW booth what testing or

4:46:28 14     certifications the NW devices go through?

4:46:29 15     A.   I did not.

4:46:33 16     Q.   Are you certified to evaluate the durability of a product?

4:46:35 17     A.   No.

4:46:37 18     Q.   Do you have any training to determine whether a product is

4:46:42 19     certified to meet military specifications or form factors?

4:46:42 20     A.   No.

4:46:47 21     Q.   What did you do to determine if any NW product did or did

4:46:50 22     not meet military specification form factors?

4:46:52 23     A.   What did I do?    Say that again?    I'm sorry.

4:46:57 24     Q.   What did you do to determine if any NW product did or did

4:47:00 25     not meet military specification form factors?


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4:47:02   1    A.   I didn't do anything.

4:47:05   2    Q.   Do you have any training to determine whether a product is

4:47:10   3    certified to meet military standard 810G for dust, shock,

4:47:12   4    vibration or blowing rain?

4:47:12   5    A.   No.

4:47:16   6    Q.   What did you do to determine if any NW product did or did

4:47:19   7    not meet military standard 810G for dust, shock, vibration and

4:47:19   8    blowing rain?

4:47:21   9    A.   Nothing.

4:47:23 10     Q.   Do you have any training to determine whether a product is

4:47:27 11     certified to meet IP68 standard as dustproof?

4:47:29 12     A.   No.

4:47:33 13     Q.   What did you do to determine if any NW product did or did

4:47:41 14     not meet IP68 standard as dustproof?       What did you do to

4:47:47 15     determine if any NW product did or did not meet IP68 standard as

4:47:48 16     dustproof?

4:47:49 17     A.   I didn't.

4:47:52 18     Q.   Do you have any training to determine whether a product is

4:47:58 19     certified to withstand immersion up to two meters for 30

4:47:58 20     minutes?

4:47:59 21     A.   No.

4:48:04 22     Q.   What did you do to determine if any NW product did or did

4:48:04 23     not withstand immersion up to two meters for 30 minutes?

4:48:04 24     A.   Nothing

4:48:08 25     Q.   Did you immerse any NW product in water?


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4:48:08   1    A.   No.

4:48:12   2    Q.   Did you do any durability testing on any NW product?

4:48:13   3    A.   No.

4:48:16   4    Q.   What's the basis in Paragraph 20 that you state that there

4:48:23   5    are quality concerns with products at NW?        What was your basis

4:48:27   6    in Paragraph 20 for saying that there were quality concerns with

4:48:29   7    the products NW was offering?

4:48:33   8    A.   Because my belief or knowledge that we're still having or

4:48:36   9    using the Nextel name, we have Nextel devices like Strike, and I

4:48:39 10     believe that it is causing confusion from the black and yellow

4:48:42 11     colors, that all those things were causing confusion and that

4:48:47 12     not knowing the information about all the devices.         That, to me,

4:48:50 13     until somebody proved otherwise, they were counterfeit.

4:48:57 14     Q.   In fact Mr. Mancuso, you've stated affirmatively that the NW

4:49:01 15     devices did not meet any of these standards that we just talked

4:49:06 16     about, and in your declaration stated affirmatively that it did

4:49:12 17     not and that caused you that there were quality concerns with

4:49:18 18     the NW devices.    Yet you didn't do a single standards test,

4:49:22 19     quality indication test, certification test to any NW device,

4:49:23 20     correct?

4:49:26 21     A.   What was the question again?

4:49:27 22     Q.   I'm asking you what did you do.

4:49:32 23     A.   It wasn't really my job.     I was just -- I just was reporting

4:49:35 24     up to my supervisors about my concerns.        What I saw and what was

4:49:39 25     being told by customers coming up, based on what we are


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4:49:41   1    communicating day in and day out.

4:49:48   2    Q.     Okay.    In Paragraph 19 you state -- you say -- state that I

4:49:51   3    believe consumers, including first responder organizations are

4:49:56   4    likely to believe falsely that NW entities' counterfeit products

4:50:00   5    are genuine Nextel products, and purchase them believing that

4:50:05   6    they are of the same quality and dependability as genuine Nextel

4:50:07   7    products when they are not.      Do you see that?

4:50:08   8    A.     Yes.

4:50:11   9    Q.     You didn't test a single Nextel product for quality, did

4:50:11 10     you?

4:50:12 11     A.     No.

4:50:16 12     Q.     You didn't test a single Nextel product for dependability,

4:50:17 13     did you?

4:50:17 14     A.     No.

4:50:22 15     Q.     You didn't do anything to determine whether NW entity

4:50:25 16     products are of the same or lesser quality, or the same or

4:50:29 17     lesser dependability as a genuine Nextel product, did you?

4:50:32 18     A.     Again, my statement from that is because we are using the

4:50:36 19     Nextel name from our products' standpoint, and our customers

4:50:41 20     know what is tested on our network and that was from -- that was

4:50:45 21     what my observations were and that is what I reported to my

4:50:45 22     supervisors.

4:50:49 23     Q.     The Nextel name, putting the Nextel on a device does that

4:50:53 24     have -- what does that have to do with the quality or

4:50:55 25     dependability of that device?


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4:51:00   1    A.   If it's coming from a Sprint sticker or -- I mean, who.         I

4:51:04   2    guess I need to know who is doing the stickering.

4:51:08   3    Q.   Are you using Sprint services?

4:51:09   4               MR. KERNELL:     Oh, that's you.

4:51:10   5    A.   Are you using Sprint services.

4:51:15   6    Q.   It doesn't matter.      Does it change the quality or durability

4:51:16   7    of this iPhone?

4:51:19   8    A.   If it's being sold by Sprint, I know it's been certified by

4:51:23   9    Sprint.    Those are Sprint solutions and products that we've been

4:51:27 10     selling.     That sticker, that's what I referenced it to.

4:51:31 11     Q.   It could be that the quality standards that NW holds its

4:51:35 12     manufacturer to could be higher than that what Sprint does,

4:51:35 13     couldn't it?

4:51:37 14     A.   It's possible.     I wouldn't know, but --

4:51:40 15     Q.   No, you wouldn't know because you didn't test.        You didn't

4:51:45 16     check a single quality standard of any Nextel device, did you?

4:51:48 17     A.   I have not.

4:51:51 18                MR. KERNELL:     That's the end of Mr. Mancuso's

4:51:53 19     testimony.

4:51:54 20                THE COURT:     Okay.   Ladies and gentlemen, we're going to

4:51:59 21     break for the day now.      I'm going to ask you to come back at 10

4:52:03 22     a.m. tomorrow morning.      As I told you, I have therapy tomorrow

4:52:09 23     at 9:00, at 8:00, and I don't get finished until just a little

4:52:12 24     bit after 9.     So I'm going to ask you to come back at -- let's

4:52:15 25     say quarter of 10.      I should be done by then.    I should be


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4:52:16   1    ready.

4:52:22   2               I want you to tell me tomorrow what your position is on

4:52:25   3    Good Friday.       Do any of you have any strongly-held beliefs that

4:52:29   4    we should not hold court on Good Friday?        If so, raise your

4:52:35   5    hand.    Anybody?     If not, we'll motor through, but we won't go

4:52:37   6    late in the day no matter what.       All right?

4:52:39   7               Remember not to talk to anybody about the case,

4:52:43   8    remember not to look up anything, remember not to do anything.

4:52:49   9    Go home, eat, sleep, come back.       Good night.

4:52:53 10                (Jury out at 4:52 p.m.)

4:53:21 11                THE COURT:     Please be seated for a moment.    I've got

4:53:27 12     eight minutes before I start my Zoom conference call.

4:53:36 13                Okay.     First of all, I know there's no universal rule,

4:53:41 14     but my understanding or my custom is when you are reading from a

4:53:44 15     deposition, when you skip lines you say going to Page 80, Line

4:53:51 16     4.   That way it makes it much easier to follow.        If there's a

4:53:53 17     mistake, then the court reporter can figure out where it is that

4:53:55 18     they are and look at the transcript.

4:53:58 19                The second thing is, I feel like a potted plant.         Over

4:54:01 20     the weekend I spent a lot of time going through these

4:54:06 21     depositions, ruling on objections.        You just read at least 15

4:54:12 22     different things that I had ruled was were inadmissible.          Why

4:54:16 23     did I bother?       What was the point?   I'm not a happy camper.

4:54:19 24     You've ruined my weekend already and then you ignore it.          What's

4:54:23 25     the point of doing that?       There were several things that I -- as


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4:54:27    1   I was looking when I could see where you were, that I had

4:54:32    2   written Xed out and had lined out saying sustained. Or not

4:54:42    3   admissible.    What the hell?    I'm done.   I'm gone.    You ask me to

4:54:45    4   redo any more things, we'll go through them line by line and I

4:54:50    5   will listen to objections that you have here in court and I will

4:54:54    6   rule on them in court, because obviously you guys are trying

4:54:58    7   whatever case it is you want to try rather than the case that I

4:54:58    8   want to try.

4:55:01    9               So good-bye.   See you tomorrow morning.

4:55:08 10                 COURTROOM DEPUTY:   All rise.

4:55:08 11                 (See Volume 5 for continuation)

4:55:08 12                           C E R T I F I C A T E
               I certify that the foregoing is a correct transcript from the
4:55:08 13     record of proceedings in the above-entitled matter.

4:55:08 14     4/13/2022                  /s/ Dawn M. Savino, R.P.R., C.R.R.
               Date                           DAWN M. SAVINO, R.P.R., C.R.R.
4:55:08 15

4:55:08 16                                     I N D E X

4:55:08 17                                     WITNESSES

4:55:08 18     ALL WITNESSES:                                             PAGE:

4:55:08 19     For Defense:

4:55:08 20       Thomas Shaughnessy:
                   Direct Examination by Mr. Kernell                      2:16
4:55:08 21         Cross-Examination by Ms. Wheatley                      44:7

4:55:08 22       Brian Mancuso:
                   Deposition read into the record by                     77:3
4:55:08 23
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4:55:08    1
               For Defense:
4:55:08    2
               5016       :
4:55:08    3              In Evidence                                     3:8

4:55:08    4   5017       :
                          In Evidence                                     6:24
4:55:08    5
               5018       :
4:55:08    6              In Evidence                                     12:9

4:55:08    7   5021       :
                          In Evidence                                     18:1
4:55:08    8
                          5020, 5022, 5024, 5231:
4:55:08    9              In Evidence                                     26:23

4:55:08 10     5019       :
                          In Evidence                                     39:18
4:55:08 11

4:55:08 12

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